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                     EXHIBIT 19

  DECLARATION OF RUFUS JENKINS
  Part 1: Declaration – Attachment H, pages 1 – 148
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1                                DECLARATION OF RUFUS JENKINS
2                                  PURSUANT TO 28 U.S.C. §1746

3           I, Rufus L. M. Jenkins, have personal knowledge of the facts and matters discussed in

4    this declaration and, if called as a witness, could and would testify as follows:
5
     1. I am a citizen of the United States and over the age of eighteen (18) years old. I am
6
        employed by the Federal Trade Commission (“FTC”) as an investigator in the Bureau of
7
        Consumer Protection’s Division of Financial Practices. My office address is 600
8
9       Pennsylvania Avenue, NW, Mail Stop CC-10232, Washington, DC 20580.

10 2. I have worked with the FTC since April 2019. Previously, I worked for eight years in a
11      forensics practice at one of the Big Four public accounting firms. I earned my Master of
12      Accountancy and Master of Business Administration from Mercer University.
13
     3. At the FTC, my responsibilities include investigating parties suspected of engaging in unfair
14
        or deceptive acts or practices in violation of the FTC Act and any other laws or rules
15
        enforced by the FTC. In the normal course of carrying out my investigative responsibilities,
16
17      I regularly use Internet search engines, electronic databases, spreadsheet software, and a

18      variety of other software-based investigative and organizational tools. I regularly review a

19      variety of records, including bank data, website registration data, and telecommunications
20      records, engaging in analysis for indicators of fraudulent activity.
21
     4. I am a licensed Certified Public Accountant (“CPA”). To become a licensed CPA, I passed
22
        the Uniform CPA Examination®. The CPA Exam consists of four, four-hour sections:
23
        Auditing and Attestation, Business Environment and Concepts, Financial Accounting and
24
25      Reporting, and Regulation. Examples of content areas within exam sections include

26      Performing Further Procedures and Obtaining Evidence, Economic Concepts and Analysis,


                                                       1

                                                                                                 PX19 - 1
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        Financial Statement Accounts, and Business Law. Further, I had to meet rigorous
1
2       requirements concerning education, experience, and ethics. To maintain my permit to

3       practice, I must complete no less than eighty hours of acceptable continuing professional

4       education (“CPE”) during the two-year period preceding the date my license expires.
5       Representative subject areas of acceptable continuing education credits include Accounting
6
        and auditing, Computer Science, Statistics, Economics, and Business Law.
7
     5. I am also a Certified Fraud Examiner (“CFE”). To become a Certified Fraud Examiner, I had
8
        to pass an exam which tested four subject areas: (1) fraud prevention and deterrence; (2)
9
10      fraudulent financial transactions; (3) fraud investigations; and (4) legal elements of fraud. To

11      maintain my CFE Credential, I am required to earn at least twenty hours of CPE every 12-

12      month period. At least ten of these hours must relate directly to the detection and deterrence
13
        of fraud and two hours must relate directly to ethics. The other eight are left to individual
14
        choice between the two preceding fields of study and the exam subject areas.
15
     6. As part of my duties at the FTC, I have been assigned to work on the FTC’s investigation of
16
        Lead Express, Inc. (“Lead Express”); Camel Coins, Inc. (“Camel Coins”); Sea Mirror, Inc.
17
18      (“Sea Mirror”); Naito, Corp.; Kotobuki Marketing, Inc. (“Kotobuki Marketing”); Ebisu

19      Marketing, Corp. (“Ebisu Marketing”); Hotei Marketing, Inc. (“Hotei Marketing”); Daikoku
20      Marketing, Inc. (“Daikoku Marketing”), (collectively, the “Corporate Defendants”); La Posta
21
        Tribal Lending Enterprise, also doing business as Harvest Moon Financial, Harvest Moon
22
        Loans, Gentle Breeze, Gentle Breeze Online, and Green Stream Lending (the “Tribal
23
        Defendant”); Takehisa Naito; and Keishi Ikeda. Throughout this declaration, I will refer to
24
25      the subjects of the FTC’s investigation collectively as “Defendants.”

26


                                                     2

                                                                                                PX19 - 2
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     7. During the course of this investigation, I have acquired personal knowledge and information
1
2       about the facts stated here, and if called, would testify to the same. My conclusions are based

3       on my investigation of Defendants, which included my review of consumer complaints about

4       the Defendants’ business practices and review of documents obtained by the FTC, including,
5       but not limited to, corporate records, website and domain registration documents, telephone
6
        records, and financial records.
7
     8. During the investigation, the FTC obtained records and information from a number of
8
        sources through compulsory process, by issuing a Civil Investigative Demand (“CID”), and
9
10      other means. The records and information include, but are not limited to, consumer

11      complaints, corporate filings, website and domain registration documents, telephone records,

12      and financial records. Throughout this declaration, I refer to Defendants’ various financial
13
        accounts using the following protocol: an abbreviated trade name (in whose name the
14
        particular account is held), bank initials, and the last four digits of the account number.
15
     9. One of my duties is to serve as document custodian for the FTC in this investigation. As the
16
        custodian of documents and information collected in the course of this investigation, I
17
18      maintain all such evidence in my custody and control, either on a secure FTC server or in a

19      locked filing cabinet in my office. Personal information, such as social security numbers and
20      account numbers, have been redacted from the attachments to this declaration in order to
21
        protect the privacy of consumers and individuals associated with the Defendants. Copies of
22
        any documents referred to in my declaration are available without information obscured for
23
        viewing upon request. Below, I describe those documents and information the FTC gathered
24
25      during this investigation, and, in some instances, present my analysis of this evidence.

26


                                                      3

                                                                                                 PX19 - 3
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     I.         BUSINESS FORMATIONS AND RECORDS
1
2    10. The Corporate Defendants were created by documents filed with either state governmental

3           agencies in California or Nevada, and the Tribal Defendant was established pursuant to tribal

4           resolutions. Although incorporated in Nevada, Lead Express and Kotobuki Marketing
5           registered with California to transact business within the state.
6
     11. Although not all images are available online, California allows the public to access and
7
            download company formation and amendatory documents from its state-run website. 1
8
            Nevada allows ordering these same records through its Commercial Recordings Division in
9
10          the Office of the Secretary of State (“SOS”). 2 In contrast, the Tribal Defendant’s organizing

11          documents and entity records were not readily publicly available, but they submitted them to

12          third parties to establish financial accounts.
13
     12. During the investigation, the FTC obtained company records from California and Nevada in
14
            the manner described in the preceding paragraph. The FTC acquired company records of the
15
            Tribal Defendant through compulsory process issued to financial institutions. True and
16
            correct copies of the Corporate and Tribal Defendants’ organizational and amendatory
17
18          documents are summarized in Table 1 below.

19                                                          Table 1
                   Entity Name                Attachment        State          Formation Date             Status
20          Lead Express, Inc.                     A          CA            Sept. 24, 2013            Surrendered
                                                              NV            Jan. 25, 2011             Active
21          Camel Coins, Inc.                      B          CA            Nov. 8, 2011              Dissolved
                                                              NV            Mar. 19, 2012             Active
22          Sea Mirror, Inc.                       C          CA            Feb. 8, 2013              Dissolved
                                                              NV            Feb. 21, 2012             Active
23          Naito Corp.                            D          CA            July 28, 2006             Dissolved
                                                              NV            Oct. 5, 2018              Active
24          Kotobuki Marketing, Inc.               E          CA            July 13, 2016             Surrendered
                                                              NV            Dec. 4, 2014              Active
25
26   1
         California’s business database is available at https://businesssearch.sos.ca.gov/.
     2
         Nevada’s business database is available at https://esos.nv.gov/EntitySearch/OnlineEntitySearch.


                                                                4

                                                                                                                PX19 - 4
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           Ebisu Marketing, Inc.               F       CA           Mar. 3, 2010           Active
1          Hotei Marketing, Inc.               G       CA           Mar. 6, 2013           Active
           Daikoku Marketing, Inc.             H       CA           Apr. 30, 2013          Active
2          La Posta Tribal Lending             I       Tribal       Apr. 21, 2010          Active
           Enterprise
3
     13. A review of the Tribal Defendant’s organizing documents in Attachment I shows that it has
4
5          also registered the following trade names: Harvest Moon Financial, Gentle Breeze, and

6          Green Stream Lending.
7    II.       INDIVIDUAL DEFENDANTS
8
       A.      Takehisa Naito
9
     14. Takehisa Naito is connected to each of the Corporate Defendants as either an owner, director,
10
           or officer, and usually all three. Table 2 below summarizes the connections between
11
12         Takehisa Naito and the Corporate Defendants.

13                                                    Table 2
              Title                 Company                         Source Record                      Att.
14                         Camel Coins, Inc.           Camel Coins WF – 9898 Sig. Card              Att. DDD
                           Daikoku Marketing, Inc.     Daikoku Marketing WF – 6881 Sig. Card        Att. EEE
15
                           Ebisu Marketing, Corp.      Ebisu Marketing WF – 6154 Sig. Card          Att. GGG
16    Owner
                           Hotei Marketing, Inc.       Hotei Marketing WF – 3413 Sig. Card          Att. HHH
                           Kotobuki Marketing, Inc.    Kotobuki Marketing WF – 9062 Sig. Card        Att. III
17                         Lead Express, Inc.          Lead Express WF – 9880 Sig. Card              Att. JJJ
                           Naito, Corp.                Naito Corp WF – 9539 Sig. Card               Att. KKK
18
                           Sea Mirror, Inc.            Sea Mirror WF – 8354 Sig. Card               Att. LLL
19                         Camel Coins, Inc.           NV Corporate Records                            B
                           Ebisu Marketing, Corp.      CA Corporate Records                            F
20                         Hotei Marketing, Inc.       CA Corporate Records                            G
      Director             Kotobuki Marketing, Inc.    NV Corporate Records                            E
21
                           Lead Express, Inc.          CA, NV Corporate Records                        A
22                         Naito, Corp.                NV Corporate Records                            D
                           Sea Mirror, Inc.            NV Corporate Records                            C
23                         Camel Coins, Inc.           CA Corporate Records                            B
                           Daikoku Marketing, Inc.     CA Corporate Records                            H
24
                           Ebisu Marketing, Corp.      CA Corporate Records                            F
      Chief Executive
25    Officer
                           Hotei Marketing, Inc.       CA Corporate Records                            G
                           Kotobuki Marketing, Inc.    CA Corporate Records                            E
26                         Lead Express, Inc.          CA Corporate Records                            A
                           Naito, Corp.                CA Corporate Records                            D


                                                         5

                                                                                                       PX19 - 5
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                        Sea Mirror, Inc.            CA Corporate Records                         C
1                       Camel Coins, Inc.           CA, NV Corporate Records                     B
2                       Daikoku Marketing, Inc.     CA Corporate Records                         H
                        Ebisu Marketing, Corp.      CA Corporate Records                         F
3                       Hotei Marketing, Inc.       CA Corporate Records                         G
      President
                        Kotobuki Marketing, Inc.    CA, NV Corporate Records                     E
4                       Lead Express, Inc.          CA, NV Corporate Records                     A
5                       Naito, Corp.                CA, NV Corporate Records                     D
                        Sea Mirror, Inc.            CA, NV Corporate Records                     C
6                       Camel Coins, Inc.           CA, NV Corporate Records                     B
                        Ebisu Marketing, Corp.      CA Corporate Records                         F
7     Secretary
                        Lead Express, Inc.          NV Corporate Records                         A
                        Sea Mirror, Inc.            NV Corporate Records                         C
8
      Chief Financial   Camel Coins, Inc.           CA, NV Corporate Records                     B
9     Officer           Ebisu Marketing, Corp.      CA Corporate Records                         G
                        Camel Coins, Inc.           NV Corporate Records                         B
10    Treasurer         Lead Express, Inc.          NV Corporate Records                         A
                        Sea Mirror, Inc.            NV Corporate Records                         C
11
                        Ebisu Marketing, Corp.      CA Corporate Records                         F
      Vice President
12                      Sea Mirror, Inc.            CA Corporate Records                         C
                                                    Open Bank, Wells Fargo, Bank of Hope     WW, DDD,
                        Camel Coins, Inc.
13                                                  signature cards                            MMM
                        Daikoku Marketing, Inc.     Wells Fargo signature cards                 EEE
14                                                                                            XX, FFF,
                                                    Open Bank, Wells Fargo, Bank of Hope
                        Ebisu Marketing, Corp.                                                 GGG,
15                                                  signature cards
                                                                                               MMM
      Authorized                                    Open Bank, Wells Fargo, Bank of Hope     CCC, HHH,
16    signatory         Hotei Marketing, Inc.
                                                    signature cards                            MMM
                        Kotobuki Marketing, Inc.    Open Bank, Wells Fargo signature cards     YY, III
17                      Lead Express, Inc.          Open Bank, Wells Fargo signature cards    ZZ, JJJ
18                      Naito, Corp.                Open Bank, Wells Fargo signature cards   AAA, KKK
                                                    Open Bank, Wells Fargo, Bank of Hope     BBB, HHH,
                        Sea Mirror, Inc.
19                                                  signature cards                            MMM

20     B.    Keishi Ikeda
21 15. Keishi Ikeda is connected to each of the Corporate Defendants as either an owner, director,
22
         officer, or registered agent. Table 3 below summarizes the connections between Keishi
23
         Ikeda and the Corporate Defendants.
24
                                                   Table 3
25                                                                                             Att.
             Title               Company                        Source Record
26    Owner             Kotobuki Marketing, Inc.    Kotobuki Marketing OB – 3791 Sig. Card      YY
      Director          Kotobuki Marketing, Inc.    NV Corporate Records                         E


                                                      6

                                                                                                PX19 - 6
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                           Camel Coins, Inc.          CA, NV Corporate Records                     B
1                          Daikoku Marketing, Inc.    CA Corporate Records                         H
2                          Hotei Marketing, Inc.      CA Corporate Records                         G
      Secretary            Kotobuki Marketing, Inc.   CA, NV Corporate Records                     E
3                          Lead Express, Inc.         CA, NV Corporate Records                     A
                           Naito, Corp.               CA, NV Corporate Records                     D
4                          Sea Mirror, Inc.           CA, NV Corporate Records                     C
5                          Camel Coins, Inc.          CA Corporate Records                         B
                           Daikoku Marketing, Inc.    CA Corporate Records                         H
6                          Ebisu Marketing, Corp.     CA Corporate Records                         F
      Chief Financial      Hotei Marketing, Inc.      CA Corporate Records                         G
7     Officer              Kotobuki Marketing, Inc.   CA Corporate Records                         E
                           Lead Express, Inc.         CA Corporate Records                         A
8
                           Naito, Corp.               CA Corporate Records                         D
9                          Sea Mirror, Inc.           CA Corporate Records                         C
                           Camel Coins, Inc.          NV Corporate Records                         B
10                         Kotobuki Marketing, Inc.   NV Corporate Records                         E
      Treasurer            Lead Express, Inc.         CA, NV Corporate Records                     A
11
                           Naito, Corp.               NV Corporate Records                         D
12                         Sea Mirror, Inc.           CA, NV Corporate Records                     C
      Registered Agent     Ebisu Marketing, Corp.     CA Corporate Records                         F
13                                                    Open Bank, Wells Fargo, Bank of Hope     WW, DDD,
                           Camel Coins, Inc.
                                                      signature cards                            MMM
14                         Daikoku Marketing, Inc.    Wells Fargo signature cards                 EEE
                                                                                                XX, FFF,
15                         Ebisu Marketing, Corp.
                                                      Open Bank, Wells Fargo, Bank of Hope
                                                                                                 GGG,
                                                      signature cards
                                                                                                 MMM
16    Authorized                                                                                 CCC,
                                                      Open Bank, Wells Fargo, Bank of Hope
      Signatory            Hotei Marketing, Inc.                                                 HHH,
17                                                    signature cards
                                                                                                 MMM
                           Kotobuki Marketing, Inc.   Open Bank, Wells Fargo signature cards     YY, III
18                         Lead Express, Inc.         Open Bank, Wells Fargo signature cards    ZZ, JJJ
19                         Naito, Corp.               Open Bank, Wells Fargo signature cards   AAA, KKK
                                                      Open Bank, Wells Fargo, Bank of Hope     BBB, HHH,
                           Sea Mirror, Inc.
20                                                    signature cards                            MMM
      Authorized user
                           La Posta Tribal Lending
21    cash management                                 Cash Management Agreements               II, JJ, KK
                           Enterprise
      services
22    Authorized
      representative for   La Posta Tribal Lending    Company Agreements for Electronic        LL, MM,
      electronic           Enterprise                 Payments                                   NN
23    payments
24
     III.      CONSUMER COMPLAINTS
25
     16. During the course of the investigation, the FTC obtained consumer complaints from two
26
            sources: the Consumer Sentinel Network (“Sentinel”) and the Better Business Bureau

                                                        7

                                                                                                   PX19 - 7
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         (“BBB”). Sentinel is a database of consumer complaints maintained and administered by the
1
2        FTC. Access to complaints is reserved to law enforcement agencies who become a Sentinel

3        member. Sentinel receives complaints from consumers who directly contact the FTC, as well

4        as those shared by data contributors, including other law enforcement agencies and consumer
5        protection organizations. Given the vast number of complaints from numerous sources,
6
         Sentinel complaints are purged from the database regularly every five years.
7
     17. During the course of the investigation, I searched the Sentinel database for complaints filed
8
         against Defendants. I found 972 consumer complaints submitted to Sentinel as of May 7,
9
10       2020 regarding Defendants. Not all of these complaints include details about the subject

11       transactions. Some only include consumer information, the type of product or service

12       involved, and the subject business’s information. Of the complaints that do include a
13
         substantive narrative though, the majority report the business practices set forth in the FTC’s
14
         complaint. True and correct copies of the Sentinel complaints collected are available upon
15
         request.
16
17 18. During the investigation, the FTC obtained, and I reviewed, records from the BBB serving
18       the Pacific Southwest regarding Defendants. The BBB records include both consumer

19       reviews and complaints. Whereas a BBB review is a comment of a consumer’s experience
20       with a business, a BBB complaint involves correspondence between the consumer, BBB, and
21
         subject business working to resolve a dispute that arose from a transaction. The BBB
22
         typically sends consumer complaints to Sentinel. I reviewed the complaints submitted by the
23
         BBB to determine whether the complaints we received from the BBB were duplicates of the
24
25       complaints I downloaded through Sentinel. I determined that there are seventy-seven BBB

26


                                                      8

                                                                                                 PX19 - 8
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           complaints that were not included in the Sentinel complaints, bringing the total complaints
1
2          concerning the Defendants to 1,049 from December 2011 to May 2020.

3    19. True and correct copies of the BBB records the FTC obtained are attached to my declaration

4          as noted in Table 4 below.
5                                                          Table 4
6                Trade                              BBB Record                  Time                 Record
                                   Attachment
                 Name                                  Type                     Period               Count
7                                                    Complaints          Dec. 2011–Mar. 2020          165
         Gentle Breeze                  J
                                                      Reviews            June 2015–Mar. 2019           65
8                                                    Complaints          Feb. 2014–Mar. 2020          159
         Green Stream Lending           K
                                                      Reviews            June 2014–Mar. 2019           46
9
                                                     Complaints          June 2013–Mar. 2020          121
         Harvest Moon Financial         L
10                                                    Reviews            Apr. 2014–Apr. 2019           51

11
     IV.        DEFENDANTS’ WEBSITES
12
13 20. Throughout the course of the investigation, I regularly visited the various websites related to
14         the Defendants and this scheme. I periodically preserved each of these websites using one of

15         three tools, or some combination of the three. One is HTTrack, a free Web crawler and
16         offline browser utility that allows users to download a website from the Internet. 3 The
17
           second is the Snip & Sketch app, which allows a user to capture screenshots, available on
18
           Windows 10 devices. The third is Camtasia, a screen recording software available for
19
           purchase. 4
20
21 21. The multiple true and correct copies of the web pages making up the Defendants’ websites I
22         captured throughout the investigation are preserved and available upon request. True and

23         correct copies of the most recent versions of Defendants’ websites are attached to this
24
25
26   3
         Users can download the HTTrack program at https://www.httrack.com/.
     4
         More information on Camtasia is available at https://www.techsmith.com/video-editor.html.


                                                               9

                                                                                                              PX19 - 9
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        declaration as set forth below. Captures of previous versions of the websites are available
1
2       upon request.

3           a. gentlebreezeonline.com—Attachment M;

4           b. greenstreamlending.com—Attachment N;
5           c. harvestmoonloans.com—Attachment O;
6
            d. kotobukimarketing.com—Attachment P;
7
            e. naito-corp.com—Attachment Q;
8
            f. naitogroup.com—(redirects to naito-corp.com) Attachment R.
9
10 22. Defendant’s websites, harvestmoonloans.com, greenstreamlending.com, and
11      gentlebreezeonline.com, contain redirect web addresses to lendredirect.com for the following

12      navigation buttons: Login, Apply Now, and Contact Us. Defendant’s website
13
        gentlebreezeonline.com also includes links to the same domain, lendredirect.com, for the My
14
        Account and View Privacy Policy buttons.
15
     23. During the course of the investigation, I visited the harvestmoonloans.com website and
16
        clicked on the “Apply Now” hyperlink. As mentioned, I was redirected to a landing page on
17
18      lendredirect.com. The landing page consisted of an online payday loan application with

19      many blank fields in which an applicant would enter information. The application page
20      asked for such information as name, address, date of birth, Social Security number,
21
        employment information, financial information (including bank name, routing number, and
22
        account number). The webpage allows applicants to select the amount they want to borrow
23
        using a drop down box. I did not enter any information and proceed beyond the landing
24
25      page. I recorded this visit using the Camtasia. A copy of the screen recording is available

26      upon request.



                                                    10

                                                                                              PX19 - 10
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     24. During the investigation, I monitored another short-term loan website owned by the Tribal
1
2         Defendant, jetcredit365.com. The multiple true and correct copies of this website that I

3         captured throughout the investigation are preserved and available upon request. A true and

4         correct copy of the most recent capture of this website is appended as Attachment S.
5    V.       DOMAIN NAME REGISTRATION RECORDS
6
     25. During the investigation, the FTC issued a civil investigative demand to, and obtained
7
          records from, GoDaddy.com LLC, an Internet domain registrar and web hosting company.
8
          True and correct copies of the registration information provided by GoDadddy are attached
9
10        hereto as follows:

11            a. GoDaddy Shopper ID 29537467—Attachment T;

12            b. GoDaddy Shopper ID 41348753—Attachment U.
13
     26. The payment information provided by GoDaddy for gentlebreezeonline.com,
14
          greenstreamlending.com, and harvestmoonloans.com shows Tumbleweed Software, Inc.,
15
          doing business as Answers ETC., 5 pays the invoices directed to the Tribal Defendant for
16
          these domain names.
17
18 27. After the FTC received the documents from GoDaddy, the domain name registration of
19        camelcoins.com, gentlebreezeonline.com, harvestmoonloans.com, mygbo.com, naito-
20        corp.com, naitogroup.com, and sea-mirror.com entered a brief expiration period. 6 However,
21
22
23   5
       Through research, I found that Tumbleweed Software, Inc. is a Texas corporation. Doing business as Answers,
     ETC., it provides, among other things, loan management software that allows customers to create different loan
24   types (e.g., single pay, installment loan, etc.), underwrite loans, and process loan payments. Answers, ETC. is the
     domain name registrant organization of lendredirect.com, the redirect web address embedded in the Tribal
25   Defendant’s websites discussed above in Paragraph 22. More information regarding Tumbleweed Software is
     available on its website at https://answersetc.com/.
26   6
       Each of these three domain name registrations expired on November 29, 2019, and were updated a day later on
     November 30, 2019. They are now each set to expire on November 29, 2021.


                                                              11

                                                                                                               PX19 - 11
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           the registration was immediately updated, DNS, or Domain Name System, service was not
1
2          interrupted, and the domains remained fully functional. 7

3    VI. COMMERCIAL MAIL RECEIVING AGENCIES

4    28. Defendant’s corporate filings include several variations of the following address: 2780 South
5          Jones Blvd, Suite 200, Las Vegas, NV 89146. Research revealed that address is occupied by
6
           the business Forward Nevada, a commercial mail receiving agency (“CMRA”). The use of
7
           CMRAs can be indicia of fraud, as such services can be used to hide an entity’s actual
8
           physical location.
9
10 29. During the investigation, I obtained PS Form 1583, Application for Delivery of Mail
11         Through Agent, from the United States Postal Inspection Service for the five following suites

12         at Forward Nevada: 3132, 3637, 3692, 3695, and 3827. True and correct copies of the PS
13
           Form 1583s are appended as Attachment V. Table 5 below summarizes Defendants’ use of
14
           services provided by Forward Nevada.
15
                                                         Table 5
16                                                                                            Different Related
                Applicant                 Address                  Mail Recipient
                                                                                              Company Listed
17                                2780 South Jones Blvd,
                                  Suite 200-3132, Las         Takehisa Naito              None
18                                Vegas, NV 89146
                                  2780 South Jones Blvd,
19                                Suite 200-3637, Las         Lead Express, Inc.          Naito, Corp.
                                  Vegas, NV 89146
20                                2780 South Jones Blvd,
         Takehisa Naito           Suite 200-3692, Las         Sea Mirror, Inc.            None
21                                Vegas, NV 89146
                                  2780 South Jones Blvd,
22                                Suite 200-3695, Las         Camel Coins, Inc.           None
                                  Vegas, NV 89146
23                                2780 South Jones Blvd,
                                  Suite 200-3827, Las         Kotobuki Marketing, Inc.    None
24                                Vegas, NV 89146

25
26   7
      For more information regarding the expiration timeline of domains registered with GoDaddy, visit
     https://www.godaddy.com/help/what-happens-when-my-domain-expires-609.


                                                            12

                                                                                                          PX19 - 12
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     VII. SHARED ADDRESSES
1
2    30. During the investigation, I identified a set of addresses, besides the address discussed above,

3        that Defendants have used. Table 6 below summarizes those shared addresses and associated

4        entities.
5                                                    Table 6
6                                      101 Convention Center Drive, Suite 500
                                                 Las Vegas, NV 89109
                                        (Office building – current call center)
7         Associated Entity                           Source Record                            Att.
      Camel Coins, Inc.          Camel Coins WF – 9898 Sig. Card                             Att. III
8     Daikoku Marketing, Inc.    Daikoku Marketing WF – 6881 Sig. Card                      Att. JJJ
      Ebisu Marketing, Corp.     Ebisu Marketing WF – 6154 Sig. Card                        Att. LLL
9     Hotei Marketing, Inc.      Hotei Marketing WF – 3413 Sig. Card                       Att. MMM
      Kotobuki Marketing, Inc.   Kotobuki Marketing WF – 9062 Sig. Card                    Att. NNN
10    Lead Express, Inc.         Lead Express WF – 9880 Sig. Card                          Att. OOO
      Naito, Corp.               Naito Corp WF – 9539 Sig. Card                             Att. PPP
11    Sea Mirror, Inc.           Sea Mirror WF – 8354 Sig. Card                            Att. QQQ
12                                       1930 Wilshire Boulevard, Suite 400
                                                Los Angeles, CA 90057
                                    (Commercial building – previous call center)
13       Associated Entity                            Source Record                           Att.
      Camel Coins, Inc.          CA Statement of Information 2011                              B
14                               CA Articles of Incorporation 2013
      Daikoku Marketing, Inc.                                                                  H
15                               CA Statement of Information 2018, 2019
      Ebisu Marketing, Corp.     CA Statement of Information 2011, 2012, 2018-2020             F
16                               CA Articles of Incorporation 2013
      Hotei Marketing, Inc.                                                                    G
17                               CA Statement of Information 2018-2020
      Lead Express, Inc.         CA Statement of Information 2014                              A
18                               CA Statement of Information 2017, 2018
      Naito, Corp.                                                                             D
19                               LA County Clerk Fictitious Business Name Statement 2011
                                              8 1/2 Crestwood Road
20                                             Boulevard, CA 91905
                                                   (Tribal land)
21        Associated Entity                          Source Record                            Att.
      Gentle Breeze Online       Website                                                      M
22    Green Stream Lending       Website                                                       N
      Harvest Moon Financial     Website                                                       O
23
24 VIII. LOAN APR CALCULATIONS
25 31. During the course of the investigation, I calculated the annual percentage rate (“APR”) for
26       loans to certain consumers from Defendants based on those consumers’ loan amounts,


                                                        13

                                                                                                PX19 - 13
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         number of payments, and total of payments, and compared the resulting APRs to the
1
2        advertised terms on the Defendants’ websites. To calculate accurate APRs on closed-end

3        loans under TILA, and its implementing Regulation Z, I used a computer program named

4        “APRWIN,” which is produced and managed by the Office of the Comptroller of the
5        Currency (OCC), available for download at https://www.occ.treas.gov/tools-
6
         forms/tools/compliance-bsa/aprwin-software.html. OCC states the product, initially released
7
         in May 2008, is “an efficient tool for verifying annual percentage rates.” The tool is
8
         commonly relied upon by government agencies to calculate APRs.
9
10 32. To calculate the APRs for each consumer’s loan, I used the payment history records of
11       consumers Rebecca Brinks, Eboni Cohran, Rachel Hayes, Todd Jordan, Jennifer Kircher,

12       Shannon McCollum, Jeremy Neal, and Schana Taylor, which are attached to their respective
13
         declarations and can be found at PX01 Att. D, PX06 Att. C, PX07 Att. A, PX08 Att. A, PX09
14
         Att. A, PX11 Att. B, Aoun Att. A, Jenkins Att. D. Table 7 below compares the actual
15
         number of payments each consumer made versus the number of payments advertised on
16
         Defendants’ websites.
17
18                                                Table 7
                                                                                      Difference between
19        Consumer        Amount Borrowed
                                             Advertised Number     Actual Number of       Actual and
                                                of Payments           Payments        Advertised Number
20                                                                                       of Payments
      Brinks             $100                1                    3                   2
21    Brinks             $200                1                    11                  10
      Brinks             $100                1                    7                   6
22    Cohran             $200                1                    10                  9
      Cohran             $100                1                    4                   3
23    Hayes              $250                1                    12                  11
      Jordan             $150                1                    10                  9
24    Jordan             $100                1                    7                   6
      Kircher            $200                1                    6                   5
25    McCollum           $150                1                    11                  10
      Neal               $200                1                    4                   3
26    Taylor             $200                1                    20                  19
      Taylor             $150                1                    17                  16


                                                     14

                                                                                                  PX19 - 14
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     33. My review of Defendants’ websites shows that they advertise loans with two different fee
1
2       options: $30 per $100 borrowed and $45 per $100 borrowed. Tables 8 and 9 below compare

3       the actual total of payments taken by Defendants to repay each consumer’s loan versus the

4       total of payments to repay those loans as advertised on Defendants’ websites. Table 8 shows
5       the comparisons for the $30 per $100 borrowed option, and Table 9 shows the comparisons
6
        for the $45 per $100 borrowed option.
7
                                                        Table 8
8                                                                                               Difference between
                                                   Advertised Total of      Actual Total of         Actual and
9         Consumer          Amount Borrowed
                                                      Payments**              Payments          Advertised Total of
                                                                                                     Payments
10     Brinks               $100                 $131.38                 $238.15                $106.77
       Brinks               $200                 $262.76                 $1,022.93              $760.17
11     Brinks               $100                 $131.38                 $304.19                $172.81
       Eboni                $200                 $262.76                 $926.61                $663.85
12     Eboni                $100                 $131.38                 $185.02                $53.64
       Hayes                $250                 $328.45*                $1,391.64              $1,063.19
13     Jordan               $150                 $197.07*                $697.04                $500.33
       Jordan               $100                 $131.38                 $324.92                $193.54
14     Kircher              $200                 $262.76                 $557.15                $294.39
       McCollum             $150                 $197.07*                $765.27                $568.20
15     Neal                 $200                 $262.76                 $369.66                $106.90
       Taylor               $200                 $262.76                 $1,854.41              $1,591.65
16     Taylor               $150                 $197.07*                $1,183.13              $986.06
       *Includes advertised fees and interest.
17     **Advertisements in increments of $100. Advertised total of payments based on extrapolation.

18                                                      Table 9
                                                                                                Difference between
19                                                 Advertised Total of      Actual Total of         Actual and
          Consumer          Amount Borrowed
                                                      Payments**              Payments          Advertised Total of
20                                                                                                   Payments
       Brinks              $100                   $146.38                $238.15                $91.77
21     Brinks              $200                   $292.76                $1,022.93              $730.17
       Brinks              $100                   $146.38                $304.19                $157.81
22     Eboni               $200                   $292.76                $926.61                $633.85
       Eboni               $100                   $146.38                $185.02                $38.64
23     Hayes               $250                   $365.95*               $1,391.64              $1,025.69
       Jordan              $150                   $219.57*               $697.04                $477.47
24     Jordan              $100                   $146.38                $324.92                $178.54
       Kircher             $200                   $292.76                $557.15                $264.39
25     McCollum            $150                   $219.57*               $765.27                $545.70
       Neal                $200                   $292.76                $369.66                $76.90
26     Taylor              $200                   $292.76                $1,854.41              $1,561.65
       Taylor              $150                   $219.57*               $1,183.13              $963.56


                                                           15

                                                                                                         PX19 - 15
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      *Includes advertised fees and interest.
1     **Advertisements in increments of $100. Advertised total of payments based on extrapolation.

2    34. Tables 10 and 11 below compare the actual APR based on the number and total of payment
3
        taken by Defendants to repay each consumer’s loan versus the APR advertised on
4
        Defendants’ websites. Table 11 shows the comparisons for the $30 per $100 borrowed
5
        option, and Table 12 shows the comparisons for the $45 per $100 borrowed option.
6
7                                                     Table 10
                                                                                               Difference between
8        Consumer          Amount Borrowed         Advertised APR           Actual APR              Actual and
                                                                                                 Advertised APR
      Brinks              $100                   818.1214%              2055.7129%             1237.5915%
9     Brinks              $200                   818.1214%              1096.9984%             278.8770%
      Brinks              $100                   818.1214%              1036.1393%             218.0179%
10    Eboni               $200                   818.1214%              1172.7409%             354.6195%
      Eboni               $100                   818.1214%              781.3257%              (36.7957%)
11    Hayes               $250                   818.1214%              1193.7173%             375.5959%
      Jordan              $150                   818.1214%              1077.6106%             259.4892%
12    Jordan              $100                   818.1214%              1207.4692%             389.5706%
      Kircher             $200                   818.1214%              977.8515%              159.7301%
13    McCollum            $150                   818.1214%              1186.5952%             368.4738%
      Neal                $200                   818.1214%              1083.2202%             265.0988%
14    Taylor              $200                   818.1214%              1371.1660%             553.0446%
      Taylor              $150                   818.1214%              1134.8775%             316.7561%
15
16                                                    Table 11
                                                                                                Difference between
17       Consumer          Amount Borrowed         Advertised APR           Actual APR              Actual and
                                                                                                 Advertised APR
18    Brinks              $100                   1209.1929%             2055.7129%             846.52%
      Brinks              $200                   1209.1929%             1096.9984%             (112.1945%)
19    Brinks              $100                   1209.1929%             1036.1393%             (173.0536%)
20    Eboni               $200                   1209.1929%             1172.7409%             (36.452%)
      Eboni               $100                   1209.1929%             781.3257%              (427.8672%)
21    Hayes               $250                   1209.1929%             1193.7173%             (15.4756%)
      Jordan              $150                   1209.1929%             1077.6106%             (131.5823%)
22    Jordan              $100                   1209.1929%             1207.4692%             (1.7237%)
23    Kircher             $200                   1209.1929%             977.8515%              (231.3414%)
      McCollum            $150                   1209.1929%             1186.5952%             (22.5977%)
24    Neal                $200                   1209.1929%             1083.2202%             (125.9727%)
      Taylor              $200                   1209.1929%             1371.1660%             161.9731%
25    Taylor              $150                   1209.1929%             1134.8775%             (74.3154%)
26


                                                          16

                                                                                                        PX19 - 16
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     35. I also calculated the APR based on the terms contained in the TILA disclosures in three
1
2        examples of Defendants’ loan agreements and determined that Defendants calculated the

3        APR incorrectly in all three. The TILA disclosure in the loan agreement provided by

4        Defendants to consumer Rachel Hayes (attached as PX20 Att. C) states an amount financed
5        of $250, number of payments of 1, finance charge of $116.19, total of payments of $366.19,
6
         and APR of 1130.92%. Using the APRWIN software, the APR for those repayment terms is
7
         actually 1211.6957%. The TILA disclosure in the loan agreement provided by Defendants to
8
         consumer Milaya Paggett (attached as PX20 Att. A) states an amount financed of $500,
9
10       number of payments of 1, finance charge of $233.88, total of payments of $733.88, and APR

11       of 1130.92%. Using the APRWIN software, the APR for those repayment terms is actually

12       1219.5171%. The TILA disclosure in another loan agreement provided by Defendants to
13
         consumer Milaya Paggett (attached as PX20 Att. B) states an amount financed of $100,
14
         number of payments of 1, finance charge of $46.28, total of payments of $146.28, and APR
15
         of 1299.408%. Using the APRWIN software, the APR for those repayment terms is actually
16
         1206.5857%.
17
18 IX. BANK RECORDS
19 36. Pursuant to civil investigative demands issued to financial institutions and through other
20       means, the FTC obtained records and data concerning Defendants’ business accounts and
21
         limited information pertaining to individual accounts. Based upon my review of these
22
         records, I observed that during this scheme, the Defendants primarily operated through the
23
         United States commercial banking system. However, Corporate and Individual Defendants
24
25       transacted with Japanese banks, as well. As discussed in more detail below, my review

26       showed that the consumer-facing front to Defendants’ payday operation are the Tribal



                                                    17

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         Defendant’s websites, and consumers’ loan repayments are funneled through merchant
1
2        processing accounts and settlement accounts in the Tribal Defendant’s name before going to

3        the Corporate and Individual Defendants’ bank accounts. Because the FTC obtained a

4        voluminous amount of records, I do not include each document, such as monthly statements,
5        wire transfers, deposit items, and the like. Instead, I append as attachments true and correct
6
         copies of particular records the FTC obtained below, and I summarize the others. True and
7
         correct copies of the complete bank records are available upon request.
8
       A.     Third-Party Service Providers
9
10 37. During the investigation, the FTC issued civil investigative demands to, and obtained
11       documents from, PeopleFirst Bank (“PFB”), CNB Bank & Trust, N.A. (“CNB Bank”), and

12       North American Banking Company (“NABC”). Through third-party service providers, the
13
         Tribal Defendant used these banks to fund loans to the Tribal Defendant’s borrowers and
14
         withdraw payments from borrowers’ bank accounts via automated clearinghouse (“ACH”)
15
         credits and debits as well as to receive and return payments associated with imaged cash
16
         letters (which are electronic files containing batches of remotely created checks). Based
17
18       upon my review of the obtained documents, I identified four third-party service provider

19       arrangements involving seven depository institutions. Table 12 below summarizes these
20       findings.
21
                                                      Table 12
22          Third-Party Service Providers                Time Period             Depository Institutions
      Merchant Payment Solutions, LLC               June 2019–present      PeopleFirst Bank
23    Flex Payment Solutions, LLC                   Nov. 2017–present      CNB Bank & Trust, N.A.
                                                    Sept. 2017–Aug. 2019   North American Banking Company
24    USIO, Inc. f/k/a Payment Data Systems, Inc.   May 2017–Sept. 2017    Metropolitan Commercial Bank
                                                    Aug. 2016–May 2017     Generations Federal Credit Union
25    Viking Client Services, LLC                   July 2015–June 2018    North American Banking Company

26            1. Merchant Payment Solutions, LLC


                                                          18

                                                                                                      PX19 - 18
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     38. On June 13, 2019, the Tribal Defendant entered into three-year Merchant Services
1
2       Agreements (“MSAs”) with Merchant Payment Solutions, LLC to process ACH transactions

3       and credit, debit, and prepaid cards. True and correct copies of these MSAs are appended as

4       Attachments W, X and Y.
5    39. On June 24, 2019, the Tribal Defendant opened six settlement accounts at PeopleFirst Bank
6
        to receive the consumer payments processed by Merchant Payment Solutions. Table 13
7
        below provides more specifics about each account.
8
                                                    Table 13
9                  Settlement Purpose                         Settlement Account
                                               Gentle Breeze PFB – 5760
10         ACH Credits                         Green Stream Lending PFB – 5728
                                               Harvest Moon Financial PFB – 5784
11                                             Gentle Breeze PFB – 5752
           ACH Debits                          Green Stream Lending PFB – 5736
12                                             Harvest Moon Financial PFB – 5776
13
     40. The opening documents and account agreements for the Tribal Defendant’s settlement
14
        accounts at PeopleFirst Bank list the Tribal Defendant’s purpose as an installment lender.
15
        True and correct copies of these account opening documents are appended as Attachments
16
17      Z, AA, BB, CC, DD, EE, FF, GG, and HH.

18 41. On June 26, 2019, the Tribal Defendant entered into cash management services agreements
19      with PeopleFirst Bank, who sublicenses from Fiserv, that permit users authorized by the
20      Tribal Defendant to, among other things, transfer funds, via computer, through ACH
21
        transactions. The Tribal Defendant authorized Keishi Ikeda as a user of these cash
22
        management services. A true and correct copy of these Cash Management Agreements are
23
        appended as Attachments II, JJ, and KK.
24
25 42. On June 27, 2019, the Tribal Defendant executed Company Agreements for Electronic
26      Payments (“Electronic Payments’ Agreement”) with PeopleFirst Bank to initiate ACH credits


                                                    19

                                                                                             PX19 - 19
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        and debits for the purpose of “funding loans and processing loan payments.” The Tribal
1
2       Defendant listed Keishi Ikeda as an authorized representative to initiate and instruct

3       PeopleFirst Bank to submit ACH credits and debits as well as handle ACH credit return

4       requests from consumers’ banks. Further, on August 13, 2019, the Tribal Defendant
5       completed a Third-Party Service Provider Agreement acknowledging that Merchant Payment
6
        Solutions will initiate ACH credits and debits to PeopleFirst Bank on behalf of the Tribal
7
        Defendant. True and correct copies of these Electronic Payments’ Agreement and Third-
8
        Party Service Provider Agreement are appended as Attachments LL, MM, and NN.
9
10 43. On March 19, 2020, I spoke with an employee of PeopleFirst Bank. The employee told me
11      that PeopleFirst Bank had recently requested documents from the Tribal Defendant that they

12      would not provide. The employee did not go into the specifics just that, as a result,
13
        PeopleFirst Bank decided to close all Tribal Defendant accounts earlier in March 2020.
14
        Because of anticipated payment obligations, however, only one Tribal Defendant account
15
        had actually been closed when we spoke. The Tribal Defendant instructed PeopleFirst Bank
16
        to wire the balance in the closed account to The First National Bank of Albany.
17
18          2. Flex Payment Solutions, LLC

19 44. On October 28, 2016, Flex Payment Solutions and CNB Bank entered into an Alliance
20      Agreement. The Agreement states Flex Payment Solutions, on behalf of its clients, and CNB
21
        Bank would enter into one or more agreements that allowed Flex Payment Solutions’ clients
22
        to perform ACH credits and debits, submit remotely created checks, and handle returns
23
        associated with those submitted remotely created checks through CNB Bank.
24
25 45. On October 26, 2017, Flex Payment Solutions faxed CNB Bank a referral packet containing
26      background information about the Tribal Defendant to open a merchant account. The packet



                                                    20

                                                                                                 PX19 - 20
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        included, among other things, the Tribal Defendant’s financial reports for 2015, 2016, and
1
2       2017, as well as a portion of the Tribal Defendant’s Consumer Loan Agreement that has the

3       following refinance policy language built-in: “Unless otherwise notified, your account will

4       be debited the minimum amount due to refinance this loan for another term.”
5    46. On November 1, 2017, Flex Payment Solutions opened a merchant account, on behalf of the
6
        Tribal Defendant, with CNB Bank, Gentle Breeze CNB – 4144. True and correct copies of
7
        the Alliance Agreement, referral packet, and account opening documents are appended as
8
        Attachment OO.
9
10 47. On March 20, 2020, I spoke with an employee of CNB Bank. This employee told me that
11      the bank received an email on March 16, 2020 from Flex Payment Solutions, on behalf of the

12      Tribal Defendant. The email instructed CNB Bank to begin, effective immediately,
13
        transferring consumer funds collected through remotely created checks to three settlement
14
        accounts with The First National Bank of Albany, Gentle Breeze FNBA – 3507, Green
15
        Stream Lending FNBA – 3751, and Harvest Moon Financial FNBA – 3629.
16
17          3. Viking Client Services, LLC

18 48. On November 25, 2019, I received an email from an employee of North American Banking
19      Company. In an attachment to the email, the employee explained that the Tribal Defendant
20      has six settlement accounts at the bank to receive payments processed by Viking Client
21
        Services, LLC, also doing business as Viking Billing Service. A true and correct copy of the
22
        email attachment is appended as Attachment PP.
23
     49. On July 8, 2015, Viking Billing Service opened six settlement accounts, on behalf of the
24
25      Tribal Defendant, with North American Banking Company. Table 14 below provides more

26      specifics about each account.



                                                    21

                                                                                            PX19 - 21
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                                                    Table 14
1                   Settlement Purpose                         Settlement Account
                                                Gentle Breeze NABC – 6427
2           ACH Credits                         Green Stream Lending NABC – 6468
                                                Harvest Moon Financial NABC – 6443
3                                               Gentle Breeze NABC – 6435
            ACH Debits                          Green Stream Lending NABC – 6476
4                                               Harvest Moon Financial NABC – 6450
5
6    50. A true and correct copy of the account opening documents at North American Banking

7        Company are appended as Attachments QQ, RR, SS, TT, UU, and VV.
8           4. USIO, Inc. f/k/a Payment Data Systems, Inc.
9
     51. The November 25, 2019 email from North American Banking Company discussed above
10
         also stated that in September 2017, the Tribal Defendant began using Payment Data Systems,
11
         who was a processing client of North American Banking Company, to process ACH credits
12
13       and debits related to consumer loans until August 2019.

14 52. During my analysis of the Tribal Defendant’s checking accounts at First Dakota National
15       Bank, Gentle Breeze FDNB – 9322, Green Stream Lending FDNB – 8212, and Harvest
16
         Moon Financial FDNB – 9232, I observed ACH transactions from Metropolitan Commercial
17
         Bank and Generations Federal Credit Union processed by Payment Data Systems.
18
            B. Business Checking Accounts
19
20              1. Corporate Defendants

21 53. During the investigation, the FTC issued civil investigative demands to, and obtained
22       documents from, Open Bank, Wells Fargo Bank, and Bank of Hope at which the Corporate
23       Defendants maintain bank accounts. The FTC obtained records and data concerning the
24
         Corporate Defendant’s business checking accounts, which allows them to perform day-to-
25
         day banking tasks, such as accepting deposits, making payments, transferring funds,
26
         withdrawing cash and the like. During this scheme, the Corporate Defendants have opened

                                                    22

                                                                                               PX19 - 22
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             numerous checking accounts at different banks. My review of the bank records shows that
1
2            individual Defendants, Takehisa Naito and Keishi Ikeda have been authorized signers on

3            these accounts. I summarize the Corporate Defendants’ business checking accounts

4            uncovered during the investigation in Table 15 below.
5                                                                      Table 15
6                                                      Account Name                   Last 4                                         Opening
              Financial Institution                                                                        Time Period
                                                                                      Digits                                        Document(s)
                                                Camel Coins, Inc.                     0482            May 2013–present               Att. WW
7                                               Ebisu Marketing, Corp.                0466            May 2013–present                Att. XX
                                                Kotobuki Marketing, Inc.              3791            Feb. 2017–present               Att. YY
8     Open Bank                                 Lead Express, Inc.                    0474            May 2013–present                Att. ZZ
                                                Naito, Corp.                          0458            May 2013–present               Att. AAA
9                                               Sea Mirror, Inc.                      0557            June 2013–present              Att. BBB
                                                Hotei Marketing, Inc.                 0490           May 2013–July 2017              Att. CCC
10                                              Camel Coins, Inc.                     9898            Nov. 2012–present              Att. DDD
                                                Daikoku Marketing, Inc.               6881            May 2013–present               Att. EEE
11                                                                                    3462            Apr. 2013–present              Att. FFF
                                                Ebisu Marketing, Inc.
                                                                                      6154            Apr. 2014–present              Att. GGG
12    Well Fargo Bank, N.A.                     Hotei Marketing, Inc.                 3413            Apr. 2013–present              Att. HHH
                                                Kotobuki Marketing, Inc.              9062            Jan. 2015–present               Att. III
13                                              Lead Express, Inc.                    9880            Nov. 2012–present               Att. JJJ
                                                Naito, Corp.                          9539            Dec. 2012–present              Att. KKK
14                                              Sea Mirror, Inc.                      8354            Mar. 2013–present              Att. LLL
                                                Camel Coins, Inc.                     5753           June 2012–Jan. 2013
15                                                                                    3333           Apr. 2010–June 2013
                                                Ebisu Marketing, Corp.
                                                                                      4224           Nov. 2010–June 2013
16    Bank of Hope (f/k/a BBCN
                                                Lead Express, Inc.                    4550           May 2011–Apr. 2013
                                                                                                                                      Att. MMM
      Bank)
                                                Hotei Marketing, Inc.                 7316           Mar. 2013–Apr. 2013
17                                              Sea Mirror, Inc.                      7324           Mar. 2013–Apr. 2013
                                                Naito, Corp.                          3244           Nov. 2010–Apr. 2013                    *
18    JPMorgan Chase Bank, N.A.                 Lead Express, Inc.                    8031                  ~2012                          **
       *
            Bank of Hope did not provide a signature card or other opening documents for this account, Naito, Corp BOH – 3244, only statements,
19          deposits, cancelled checks, and wire transfers.

20     **
            Wire transfer records associated with Harvest Moon Financial CVB – 6746 denote the existence of this account. The FTC did not obtain any
            bank records from JPMorgan Chase Bank, pursuant to our issued CID. Likely because the applicable time period, August 1, 2016 to present,
            started after the account was closed.
21
22                      2. Tribal Defendant

23 54. During the investigation, the FTC issued civil investigative demands to, and obtained
24           documents from, First Dakota National Bank and Chippewa Valley Bank at which (along
25           with the settlement accounts described above) the Tribal Defendant maintains bank accounts.
26


                                                                            23

                                                                                                                                        PX19 - 23
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         I summarize the Tribal Defendant’s business checking accounts uncovered during the
1
2        investigation in Table 16 below.

3                                                        Table 16
             Financial             Account Name                Last 4                          Opening
                                                                           Time Period
4           Institution                                        Digits                         Documents
                          Gentle Breeze                        5744      June 2019–present     Att. NNN
5     PeopleFirst Bank    Green Stream Lending                 5720      June 2019–present    Att. OOO
                          Harvest Moon Financial               5768      June 2019–present     Att. PPP
6                         La Posta Tribal Lending Enterprise   9782      Feb. 2017–present    Att. QQQ
      First Dakota        Gentle Breeze                        9322      May 2013–present      Att. RRR
7     National Bank       Green Stream Lending                 8212      May 2013–present      Att. SSS
                          Harvest Moon Financial               9232      June 2013–present     Att. TTT
8     North American
                          Gentle Breeze                        6708     Aug. 2015–June 2018    Att. UUU
                          Green Stream Lending                 6690     Aug. 2015–June 2018    Att. VVV
      Banking Company
9                         Harvest Moon Financial               6682     Aug. 2015–June 2018   Att. WWW
                          Gentle Breeze                        6720     Aug. 2012–Apr. 2014    Att. XXX
10    Chippewa Valley     Gentle Breeze                        6738     Aug. 2012–Apr. 2014    Att. YYY
      Bank                Harvest Moon Financial               6746     Aug. 2012–Apr. 2014    Att. ZZZ
11                        Harvest Moon Financial               6753     Aug. 2012–Apr. 2014   Att. AAAA

12 X.        FLOW OF MONEY
13 55. Based on my analysis of the account records that the FTC obtained, pursuant to CIDs, from
14
         the Defendants’ banks and other records, as appended below, I describe and create tables to
15
         summarize the Defendants’ movement of funds in this scheme. Unless otherwise noted, the
16
         applicable time period for my analysis set forth below covers Defendants’ bank transactions
17
18       from August 1, 2016 to February 28, 2020.

19     A.     Corporate Defendants Buy Consumer Traffic for Tribal Defendant’s Websites
20 56. To drive traffic to the Tribal Defendant’s consumer loan websites, the Corporate Defendants
21
         paid online advertisers, marketers, and lead sellers. In all, the Corporate Defendants paid
22
         more than $3.5 million to these type of vendors.
23
     57. During the investigation, the FTC became aware of documents produced in separate non-
24
25       public investigations that related to Defendants. Some documents concern advertising the

26       Tribal Defendant’s consumer loan websites and others are about purchasing short-term loan

         leads. I describe each of these documents in turn below.
                                                        24

                                                                                                PX19 - 24
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     58. On or about July 16, 2014, Camel Coin, Lead Express, and Sea Mirror each entered into
1
2       separate agreements, executed by Takehisa Naito, with an agency to place one or more

3       advertisements (ad banners, hyperlinks, text content, buttons, newsletters, email, etc.) on the

4       Internet to drive traffic to the Tribal Defendant’s consumer loan websites. In addition, credit
5       applications submitted to the advertising agency by Camel Coin, Lead Express, and Sea
6
        Mirror claimed their company web addresses were harvestmoonloans.com,
7
        gentlebreezeonline.com, and greenstreamlening.com, respectively.
8
     59. On or about October 20, 2014, La Posta Tribal Lending Enterprise, doing business as Gentle
9
10      Breeze, appointed Lead Express the authority to manage all lead purchase campaigns with a

11      lead seller. Moreover, La Posta and Lead Express executed an agreement with this lead

12      seller to purchase consumer leads.
13
     60. In or around December 2014, Sea Mirror entered into an agreement to purchase consumer
14
        leads for payday loans. A true and correct copy of this agreement is attached hereto as
15
        Attachment BBBB.
16
17     B.     Corporate Defendants Make Loans to Tribal Defendant to Lend to Consumers

18 61. On March 28, 2011, the La Posta Tribal Lending Enterprise and Naito, Corp. executed a
19      Promissory Note with a principal loan balance up to $5,000,000. The principal balance
20      outstanding was to be increased by advances to the Tribal Defendant and decreased by their
21
        remittances. The Promissory Note states the due date of any outstanding portion of the loan
22
        would be due on March 27, 2012 unless extended by the parties. The Tribal Defendant was
23
        required to make monthly interest payments. The customer accounts receivables contained
24
25      in the ledger associated with this line of credit partly secured this loan. Takehisa Naito

26


                                                     25

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        signed this note as Chief Executive Officer (“CEO”) of Naito, Corp. A true and correct copy
1
2       of this note is appended as Attachment CCCC.

3    62. On March 18, 2012, Green Stream Lending and Naito, Corp. executed a Promissory Note

4       with a principal loan balance up to $20,000,000. The principal balance outstanding was to be
5       increased by advances to the Tribal Defendant and decreased by their remittances. The
6
        Promissory Note states the due date of any outstanding portion of the loan would be due on
7
        March 17, 2018 unless extended by the parties. The Tribal Defendant was required to make
8
        monthly interest payments. The customer accounts receivables contained in the ledger
9
10      associated with this line of credit partly secured this loan. Takehisa Naito signed this note as

11      CEO of Naito, Corp. A true and correct copy of this note is appended as Attachment

12      DDDD.
13
     63. On September 14, 2012, Harvest Moon Financial and Naito, Corp. executed a Promissory
14
        Note with a principal loan balance up to $20,000,000. The principal balance outstanding was
15
        to be increased by advances to the Tribal Defendant and decreased by their remittances. The
16
        Promissory Note states the due date of any outstanding portion of the loan would be due on
17
18      September 13, 2017 unless extended by the parties. The Tribal Defendant was required to

19      make monthly interest payments. The customer accounts receivables contained in the ledger
20      associated with this line of credit partly secured this loan. Takehisa Naito signed this note as
21
        CEO of Naito, Corp. A true and correct copy of this note is appended as Attachment
22
        EEEE.
23
     64. Documents obtained pursuant to civil investigative demand from CNB Bank included
24
25      balance sheets prepared as of December 31, 2015 and 2016 for the Tribal Defendant

26      (Attachment OO). The 2015 balance sheet reflects notes payables to Naito, Corp. for



                                                     26

                                                                                               PX19 - 26
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          $5,227,973.20 and interest payable of $26,632.66. The 2016 balance sheet reflects notes
1
2         payables to Naito, Corp. for $3,315,662.41 and interest payable of $8,464.49.

3        C.     Corporate Defendants Pay Costs of Tribal Defendant’s Websites’ Telephones

4    65. In or around September 2015, the Defendants used Naito, Corp. to establish a
5         telecommunications account with Convergence Communications, Inc. (“Convergence
6
          Communications”). 8 The FTC obtained, pursuant to a civil investigative demand, documents
7
          and data associated with that account. A copy of all Convergence Communications records
8
          are available upon request. A true and correct copy of the relevant Convergence
9
10        Communications records are appended as Attachment FFFF.

11 66. These records show that, among other things, the following telephone numbers have been
12        assigned to the Naito, Corp. account: (888) 797-6064, (877) 218-7437, (888) 296-7226, (888)
13
          645-4171, and (855) 228-7344—all numbers that the Tribal Defendants list in their consumer
14
          loan websites, correspondence with consumers, and loan agreements. The phone numbers
15
          (888) 797-6064 and (877) 218-7437 are regularly and consistently associated with Harvest
16
          Moon Financial; (888) 296-7226 are regularly and consistently associated with Green Stream
17
18        Lending; and (888) 645-4171 are regularly and consistently associated with Gentle Breeze

19        Online.
20 67. The phone number (855) 228-7344 has been connected to Harvest Moon Financial and Green
21
          Stream Lending. As discussed above, I reviewed archived versions of the Defendants’
22
23
24   8
      On or about March 11, 2020, in response to a request for further information pursuant to the issued CID, I received
     an email from an employee at Convergence Communications who reported that the company had filed for
25   bankruptcy recently. On or about March 3, 2020, CS Communications was listed as the debtor in a petition filed for
     Chapter 7 in the United States Bankruptcy Court, Southern District of California. All documents filed in this case,
26   number 20-01237-MM7, may be inspected through PACER (Public Access to Court Electronic Records at
     www.pacer.gov).


                                                             27

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         consumer loan websites. Archived versions of the websites for Harvest Moon Financial and
1
2        Green Stream Lending include the phone number (855) 228-7344 in their Privacy web pages.

3    68. These records show that since June 2016 almost $800,000 has been invoiced to this account.

4        Naito, Corp. and Kotobuki Marketing have paid $181,266 for the phone service provided by
5        Convergence Communications.
6
7
       D.     Corporate Defendants Pay Tribal Defendant’s Service Providers
8
     69. To carry out this scheme, the Corporate Defendants engage service providers who play a
9
10       critical role in the Tribal Defendant’s ability to underwrite, manage, and service loans issued

11       to consumers. Table 17 summarizes these expenses paid by the Corporate Defendants.

12                                                   Table 17
                   Service Description               Corporate Account         Amount Paid
13                                              Camel Coins WFB – 9898                 $125,000
            Identity and Account Verification   Lead Express WFB – 9880                $112,500
14                                              Sea Mirror WFB - 8354                  $100,000
                                                Camel Coins WFB – 9898                 $217,957
15          Loan Management                     Lead Express WFB – 9880                $195,827
                                                Sea Mirror WFB - 8354                  $152,650
16
17     E.     Tribal Defendant Takes Consumer Loan Payments

18 70. Based on my analysis of the account records produced by financial institutions from August
19       1, 2016 to February 28, 2020 and financial statements covering 2015 and 2016, consumer
20
         payments, less returns, have totaled more than $93 million.
21
     71. The Tribal Defendant took consumer funds via ACH debits, negotiable instruments, such as
22
         personal checks and U.S. postal money orders, and RCCs. Through Gentle Breeze CNB –
23
24       4144, the Tribal Defendant withdrew more than $2.4 million from consumers’ accounts using

25       remotely created checks. True and correct copies of a small selection of remotely created

26       checks deposited into Gentle Breeze CNB – 4144 are appended as Attachment GGGG.


                                                         28

                                                                                               PX19 - 28
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     72. I summarize the records showing total consumer payments in Table 18 below.
1
2                                                         Table 18
                                        Consumer             Consumer Payments       Net Consumer Payments
            Account Short Name
3                                    Payments Returned            Received                  Received
      2015 Balance Sheet                          $0.00             $27,501,516.84            $27,501,516.84
4     2016 Balance Sheet                          $0.00             $11,141,486.66            $11,141,486.66
      LPTLE CNB - 7141                    $2,059,866.07              $4,500,746.95             $2,440,880.88
5     LPTLE CNB - 7141                      $625,621.47              $1,321,146.42               $695,524.95
      Harvest Moon NABC - 6682                  $668.21              $2,311,712.12             $2,311,043.91
6     Green Stream NABC - 6690                  $373.21              $1,679,650.86             $1,679,277.65
      Gentle Breeze NABC - 6708                 $629.94              $2,159,627.85             $2,158,997.91
7     Harvest Moon FDNB - 9232                $5,374.58             $14,955,299.06            $14,949,924.48
      Gentle Breeze FDNB - 9322               $3,136.93             $13,545,653.88            $13,542,516.95
8     Green Stream FDNB - 8212                $1,683.97             $10,594,087.25            $10,592,403.28
      Gentle Breeze PFB - 5752              $348,984.73              $2,489,868.68             $2,140,883.95
9     Green Stream PFB - 5736               $289,030.15              $2,036,389.07             $1,747,358.92
      Harvest Moon PFB - 5776               $342,880.64              $2,585,107.90             $2,242,227.26
10    Gentle Breeze PFB - 5744                  $835.82                    $658.71                  ($177.11)
      Green Stream PFB - 5720                 $1,469.80                      $0.00                ($1,469.80)
11    Harvest Moon PFB - 5768                   $160.00                      $0.00                  ($160.00)
                             Total        $3,680,715.52             $96,822,952.25            $93,142,236.73
12
       F.     Defendants Receive Debt Collection Remittances
13
14 73. Both the Corporate and the Tribal Defendants have received consumer funds from debt
15      collections, settlements, or garnishments. These funds are usually in the form of checks

16      deposited along with other negotiable instruments used for consumer payments. By in large,
17      the deposited amounts were from collection activity though, not regular consumer payments.
18
        Because of the time constraint of removing each individual consumer payment item, I
19
        provide the total deposited amount. The Corporate Defendants received less than $1,000,
20
        while the Tribal Defendants received over $700,000 through debt collections, settlements, or
21
22      garnishments.

23     G.     Defendants Commingle Funds

24 74. The Defendants frequently transferred money among their accounts. Rounded to the nearest
25      dollar, the Corporate Defendants transferred $15,728,430 to the Individual Defendants; the
26
        Individual Defendants transferred $15,914,189 to the Corporate Defendants; the Corporate


                                                      29

                                                                                                    PX19 - 29
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        Defendants transferred $12,035,227 to the Tribal Defendant; and the Tribal Defendants
1
2       transferred $32,800,648 to the Corporate Defendants. There is no apparent business reason

3       for the transfers between the Corporate Defendants and the Individual Defendants; nor the

4       transfers from the Corporate Defendants, other than Naito, Corp. (these were likely related to
5       the Notes), to the Tribal Defendant. In numerous instances, the transfers from the Tribal
6
        Defendants to the Corporate Defendants included a description that the transaction was
7
        related to an expense, such as “leads commission,” “call center,” “interest,” or “principal
8
        payment.” I summarized the transfers from Corporate Defendants to Individual Defendants,
9
10      Individual Defendants to Corporate Defendants, Corporate Defendants to Tribal Defendants,

11      and Tribal Defendants to Corporate Defendants. My summary charts of these transfers are

12      appended as Attachment HHHH.
13
      H.     Asset Dissipation
14
     75. My review of documents obtained from Bank of Hope, Open Bank, and Wells Fargo Bank
15
        show numerous wire transfers from corporate accounts to accounts owned or controlled by
16
        Takehisa Naito in Japan. Between May 2012 and April 2013, Lead Express BOH – 4550
17
18      wired at least $600,000 to Lead Kikaku, a business where Takehisa Naito is a president. A

19      true and correct copy of wire reports for Lead Express BOH – 4550 is appended as
20      Attachment IIII.
21
     76. The Federal Reserve Bank of New York maintains Fedwire, a funds transfer system that is a
22
        service of the Federal Reserve Banks. I reviewed documents obtained by the FTC from
23
        Fedwire and observed that on March 21, 2017, Naito, Corp. OB – 0458 wired $40,000 to
24
25      Takehisa Naito, and another $20,000 to a Haekyoung Naito, who I suspect is related to

26      Takehisa Naito.



                                                    30

                                                                                              PX19 - 30
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     77. There has been regular disbursements from corporate accounts for seemingly personal
1
2        expenses, such as automobile expenses, credit cards, meals, and lodging. However, the FTC

3        did not obtain records from American Express. Therefore, it is possible the purchases made

4        using American Express were business related. Nevertheless, I include these expenses here
5        because the FTC did obtain monthly statements concerning the Corporate Defendants’ credit
6
         cards issued through Wells Fargo Bank, N.A., and the majority of purchases were personal in
7
         nature. Based on my analysis, the Corporate Defendants spent at least $1.9 million of
8
         corporate funds for personal expenses.
9
10 78. The largest portion of personal expenditures is credit cards. The Corporate Defendants paid
11       American Express and Wells Fargo Bank, N.A. about $1,774,312. The Corporate Defendants

12       spent another $129,348 on automobile expenses. These were primarily a monthly payment
13
         to Mercedes Benz Financial Services. There were monthly country club dues, too, totaling
14
         $23,997. The Corporate Defendant also appears to have paid the U.S. Internal Revenue
15
         Service over $10,000 on behalf of Keishi Ikeda. Lodging, meals, and travel, which included
16
         overseas trips, topped $7,000. Lastly, the Corporate Defendant directly covered more than
17
18       $1,500 in medical bills. Copies of these checks are attached as Attachment JJJJ.

19 79. The Corporate Defendants’ bank records show that funds were disbursed from the corporate
20       accounts in the form of cash withdrawals, checks made payable to “cash,” wires to
21
         individuals, and checks made out to the Individual Defendants. In the table below, Table 19,
22
         I describe gross funds paid to Takehisa Naito and Keishi Ikeda.
23
                                                  Table 19
24                           ADP Gross                        Checks
                                                                                          Total Funds
          Defendant            Salary       Withdrawals      Written to    Checks/Wires
25                         (See Table 20)                      Cash
                                                                                             Paid
     Takehisa Naito              $227,000              $0        $52,600       $360,000       $639,600
26   Keishi Ikeda                $898,320         $49,157        $34,856       $105,420      $1,087,753



                                                     31

                                                                                             PX19 - 31
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     XI. ADP PAYROLL RECORDS
1
2    80. Pursuant to a CID, the FTC obtained documents from ADP TotalSource, Inc.

3        (“TotalSource”), a professional employer organization, including copies of Client Services

4        Agreements, ACH/Preauthorized Payments/Direct Debit of Fess/Credits and Additional
5        Processing Terms, Verification of Employment records including payroll and tax
6
         information, and general account information for five accounts the Corporate Defendants
7
         maintain with TotalSource. True and correct copies of the ACH authorization agreements,
8
         verifications of employment, and related account records are appended as Attachment
9
10       KKKK.

11 81. On or about December 1, 2014, Keishi Ikeda created an account with TotalSource for
12       Daikoku Marketing by signing a CSA and an Authorization Agreement as chief financial
13
         officer (“CFO”). The Authorization Agreement grants TotalSource authorization to initiate
14
         ACH transactions to Daikoku Marketing WFB – 6881 for funds owed to TotalSource. The
15
         account demographics information for this account includes the web address
16
         www.ebisumarketing.com. The verification of employment records show Keishi Ikeda on
17
18       the payroll since at least 2017.9

19 82. On or about December 1, 2014, Keishi Ikeda created an account with TotalSource for Ebisu
20       Marketing by signing a CSA and an Authorization Agreement as CFO. The Authorization
21
         Agreement grants TotalSource authorization to initiate ACH transactions to Ebisu Marketing
22
         WFB – 6154 for funds owed to TotalSource. The account demographics information for this
23
         account includes the web address www.ebisumarketing.com.
24
25
26   9
       Pursuant to the CID issued to TotalSource, the applicable time period for responsive documents was limited to
     three years.


                                                             32

                                                                                                             PX19 - 32
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     83. On or about December 1, 2014, Keishi Ikeda created an account with TotalSource for Naito,
1
2       Corp. by signing a CSA and an Authorization Agreement as CFO. The Authorization

3       Agreement grants TotalSource authorization to initiate ACH transactions to Naito Corp WFB

4       – 9539 for funds owed to TotalSource. The account demographics information for this
5       account includes the web address www.ebisumarketing.com. The verification of
6
        employment records show Keishi Ikeda on the payroll since at least 2017.
7
     84. On or about December 1, 2014, Keishi Ikeda created an account with TotalSource for Hotei
8
        Marketing by signing a CSA and an Authorization Agreement as CFO. The Authorization
9
10      Agreement grants TotalSource authorization to initiate ACH transactions to Hotei Marketing

11      WFB – 3413 for funds owed to TotalSource. The account demographics information for this

12      account includes the web address www.ebisumarketing.com. The verification of
13
        employment records show Keishi Ikeda on the payroll since at least September 2017.
14
     85. On or about January 12, 2017, Keishi Ikeda created an account with TotalSource for
15
        Kotobuki Marketing by signing a CSA and an Authorization Agreement as CFO. The
16
        Authorization Agreement grants TotalSource authorization to initiate ACH transactions to
17
18      Kotobuki Marketing WFB – 9062 for funds owed to TotalSource. The account

19      demographics information for this account includes the address101 Convention Center Drive,
20      Suite 500, Las Vegas, NV 89109. The verification of employment records show Takehisa
21
        Naito on the payroll beginning in 2019.
22
     86. I reviewed the earnings portion of the verifications of employment included in the
23
        TotalSource CID response. From January 6, 2017 to February 14, 2020, employees of the
24
25      Corporate Defendants earned $1,551,339. Table 20 below summarizes the total gross

26      earnings by year of the Individual Defendants.



                                                    33

                                                                                              PX19 - 33
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                                                        Table 20
1      Individual
                              2017              2018               2019                 2020              Total
       Defendant
2     Takehisa Naito            $0               $0              $227,000            Not provided       $227,000
       Keishi Ikeda          $322,957         $279,315           $243,973              $52,075          $898,320
3
4    XII. OTHER LAWSUITS

5    87. During the course of the investigation, the FTC identified private actions involving, and
6        against, the Defendants. Table 21 below lists these known actions.
7
                                                        Table 21
8         Case Name           Case No.          Court            Relevant Party         Date Filed         Status
                                                                Lead Express, Inc.
      Barrios v. Chex
9                             8:20cv432    M.D. Fla.                                   Feb. 25, 2020       Open
      Systems, Inc. et al
                                                                Takehisa Naito
10    Gillison, et al v.                                        Lead Express, Inc.
                                                                                                           Closed
      Lead Express, Inc.      3:16cv41     E.D. Va.                                    Jan. 19, 2016
                                                                                                       (Dec. 12, 2018)
11    et al                                                     Takehisa Naito
                                                                Lead Express, Inc.
12    Turnage, et al v.                                         Takehisa Naito
                                                                                                          Closed
      Clarity Services,      3:14-cv-760   E.D. Va.                                    Nov. 6, 2014
13    LLC                                                       La Posta Tribal
                                                                                                       (Sept. 3, 2015)
                                                                Lending
14                                                              Enterprise
                                                                Ebisu Marketing,
15    Christopher Stone v.
                                           CA Superior –        Corp.                                     Closed
      Ebisu Marketing,        BC655331                                                 Mar. 24, 2017
                                           Los Angeles                                                 (May 25, 2017)
16    Corp. et al
                                                                Takehisa Naito
                                                                Ebisu Marketing
17
      Mark Hackett v.                                           Hotei Marketing,
18                                         CA Superior –
      Hotei Marketing,        BC639589                          Inc.                   Dec. 19, 2016       Open
                                           Los Angeles
      Inc. et al
19                                                              Harvest Moon
                                                                Loans
20    Maria Alexandria
                                           CA Superior –        Ebisu Marketing,
      Valencia v. Ebisu       BC498677                                                  Jan. 8, 2013       Open
                                           Los Angeles          Corp.
21    Marketing, Corp.
                                                                Ebisu Marketing,
22                                                              Corp.

23    Giovanna Peoples v.
                                           CA Superior –
                                                                Gentle Breeze
                                                                                                          Closed
      Ebisu Marketing,        BC660197                          Online                 May 5, 2017
                                           Los Angeles                                                 (Dec. 6, 2017)
24    Corp. et al
                                                                La Posta Tribal
25                                                              Lending
                                                                Enterprise
                                                                Lead Express
26    Short v. American
                             2:16cv11304   E.D. Mich.           (Terminated)           Apr. 8, 2016
                                                                                                          Closed
      Web Loan                                                                                         (Nov. 1, 2016)


                                                           34

                                                                                                           PX19 - 34
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                                                          Takehisa Naito
1                                                         (Terminated)

2                                                         Gentle Breeze
                                                          (Terminated)
3
     88. The FTC reviewed the different filings of the cases above. In Gillison, an employee of Lead
4
5        Express and Takehisa Naito filed declarations concerning, among other things, their roles

6        with the company and the services it provides to La Posta Tribal Lending Enterprise. In
7        Stone, the plaintiff alleged that Ebisu Marketing hiring managers explained to him and other
8
         job candidates that Ebisu Marketing “provided so-called payday loans to the public.” In
9
         Valencia, Ebisu Marketing submitted, as an exhibit, an employment agreement between the
10
         company and Ms. Valencia, dated April 6, 2011. True and correct copies of these filings are
11
12       appended as Attachments LLLL, MMMM, NNNN, and OOOO.

13 89. During the investigation, the FTC identified that on March 16, 2011, the State of California,
14       Business, Transportation and Housing Agency, Department of Corporations entered a Desist
15       and Refrain Order against Takehisa Naito and another company for which he was president.
16
         The Desist and Refrain Order alleged that Takehisa Naito engaged in the business of finance
17
         lending and taking deferred deposit transactions with a license. A true and correct copy of
18
         the Desist and Refrain Order downloaded from the Department of Corporations website is
19
20       attached as Attachment PPPP.

21
22           Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true

23 and correct.
24        Executed in Washington, D.C. on May 7, 2020.
25
26                                                 __/s/ Rufus L. M. Jenkins___________
                                                   Rufus L. M. Jenkins, MBA, CPA, CFE


                                                     35

                                                                                               PX19 - 35
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                    PX19 – DECLARATION OF RUFUS JENKINS
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Naito Corp.                                                              D         99
Kotobuki Marketing, Inc.                                                 E        113
Ebisu Marketing, Inc.                                                    F        130
Hotei Marketing, Inc.                                                    G        139
Daikoku Marketing, Inc.                                                  H        144
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BBB Complaints – Green Stream                                            K        403
BBB Complaints – Harvest Moon                                            L        612
Web Captures
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Greenstreamlending.com                                                   N        779
Harvestmoonloans.com                                                     O        795
Kotobukimarketing.com                                                    P        810
Naitocorp.com                                                            Q        815
Naito-group.com                                                          R        823
Jetcredit365.com                                                         S        831
Domain Registrations
GoDaddy Shopper ID 29537467 – Takehisa Naito                             T         843
GoDaddy Shopper ID 41348753 – La Posta Tribal Lending Enterprise         U        1092
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Bank Records
Merchant Payment Solutions – Merchant Services Agreement – Gentle        W        1232
Breeze
Merchant Payment Solutions – Merchant Services Agreement – Green         X        1247
Stream
Merchant Payment Solutions – Merchant Services Agreement – Harvest       Y        1262
Moon
PeopleFirst Bank – Gentle Breeze account opening documents               Z        1277
Signature Cards – Gentle Breeze PFB-5760                                AA        1288
Signature Cards – Gentle Breeze PFB-5752                                BB        1291
PeopleFirst Bank – Green Stream account opening documents               CC        1294
Signature Cards – Green Stream PFB-5728                                 DD        1300
Signature Cards – Green Stream PFB-5736                                 EE        1302



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PeopleFirst Bank – Harvest Moon account opening documents           FF       1304
Signature Cards – Harvest Moon PFB-5784                            GG        1311
Signature Cards – Harvest Moon PFB-5776                            HH        1313
PeopleFirst Bank – Cash Management Agreement – Gentle Breeze         II      1315
PeopleFirst Bank – Cash Management Agreement – Green Stream          JJ      1321
PeopleFirst Bank – Cash Management Agreement – Harvest Moon        KK        1327
PeopleFirst Bank – Electronic Payment Agreement – Gentle Breeze     LL       1333
PeopleFirst Bank – Electronic Payment Agreement – Green Stream     MM        1356
PeopleFirst Bank – Electronic Payment Agreement – Harvest Moon     NN        1379
Documents from CNB Bank & Trust                                    OO        1402
Email from North American Banking Company                           PP       1436
Signature Cards – Gentle Breeze NAB-6427                           QQ        1438
Signature Cards – Gentle Breeze NAB-6435                           RR        1448
Signature Cards – Green Stream NAB-6468                             SS       1458
Signature Cards – Green Stream NAB-6476                             TT       1468
Signature Cards – Harvest Moon NAB-6443                            UU        1478
Signature Cards – Harvest Moon NAB-6450                            VV        1488
Signature Cards – Camel Coins OB-0482                             WW         1498
Signature Cards – Ebisu Marketing OB-0466                          XX        1510
Signature Cards – Kotobuki Marketing OB-3791                       YY        1522
Signature Cards – Lead Express OB-0474                              ZZ       1530
Signature Cards – Naito Corp OB-0458                              AAA        1549
Signature Cards – Sea Mirror OB-0557                              BBB        1561
Signature Cards – Hotei Marketing OB-0490                         CCC        1571
Signature Cards – Camel Coins WF-9898                             DDD        1583
Signature Cards – Daikoku Marketing WF-6881                        EEE       1597
Signature Cards – Ebisu Marketing WF-3462                          FFF       1611
Signature Cards – Ebisu Marketing WF-6154                         GGG        1618
Signature Cards – Hotei Marketing WF-3413                         HHH        1625
Signature Cards – Kotobuki Marketing WF-9062                        III      1639
Signature Cards – Lead Express WF-9880                              JJJ      1651
Signature Cards – Naito Corp WF-9539                              KKK        1665
Signature Cards – Sea Mirror WF-8354                               LLL       1679
Signature Cards – Bank of Hope                                    MMM        1693
Signature Cards – Gentle Breeze PFB-5744                          NNN        1700
Signature Cards – Green Stream PFB-5720                           OOO        1703
Signature Cards – Harvest Moon PFB-5768                            PPP       1705
Signature Cards – La Posta TLE FD-9782                            QQQ        1707
Signature Cards – Gentle Breeze FD-9322                           RRR        1714
Signature Cards – Green Stream FD-8212                             SSS       1722
Signature Cards – Harvest Moon FD-9232                             TTT       1729
Signature Cards – Gentle Breeze NAB-6708                          UUU        1734
Signature Cards – Green Stream NAB-6690                           VVV        1741
Signature Cards – Harvest Moon NAB-6682                           WWW        1748
Signature Cards – Gentle Breeze CVB-6720                          XXX        1753



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Signature Cards – Gentle Breeze CVB-6738                              YYY        1755
Signature Cards – Harvest Moon CVB-6746                                ZZZ       1757
Signature Cards – Harvest Moon CVB-6753                               AAAA       1759
Lead Seller Documents
Leadsmarket.com documents                                             BBBB       1761
Promissory Notes
Gentle Breeze                                                         CCCC       1765
Green Stream                                                          DDDD       1773
Harvest Moon                                                          EEEE       1781
Telecommunication Records
Convergence Communications documents                                  FFFF       1789
Remotely Created Checks
Copies of documents from CNB Bank & Trust                             GGGG       1814
Commingling of Funds
Chart of Activity                                                     HHHH       1830
Asset Dissipation Documents
Bank of Hope - Offshore Wires                                          IIII      1835
Wells Fargo – selected checks                                          JJJJ      1844
Payroll Documents
Documents from ADP TotalSource                                        KKKK       1989
Other Lawsuits
Documents from Gillison v. Lead Express                                LLLL      2047
Documents from Turnage v. Clarity Services                            MMMM       2071
Documents from Stone v. Ebisu Marketing                               NNNN       2075
Documents from Valencia v. Ebisu Marketing                            OOOO       2121
Desist and Refrain Order from California Department of Corporations    PPPP      2131




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       ATTACHMENT A




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                               State of California
                                   Secretary of State
                               Statement of Information                                                                          FN37401
                                       (Foreign Corporation)
                            FEES (Filing and Disclosure): $25.00.                                                                  FILED
                         If this is an amendment, see instructions.                                                In the office of the Secretary of State
       IMPORTANT – READ INSTRUCTIONS BEFORE COMPLETING THIS FORM                                                          of the State of California
1. CORPORATE NAME
                                                                                                                                JUN-20 2017
     LEAD EXPRESS, INC.




2. CALIFORNIA CORPORATE NUMBER
                                                                    C3606656                                                This Space for Filing Use Only

No Change Statement (Not applicable if agent address of record is a P.O. Box address. See instructions.)
3.    If there have been any changes to the information contained in the last Statement of Information filed with the California Secretary
      of State, or no statement of information has been previously filed, this form must be completed in its entirety.
            If there has been no change in any of the information contained in the last Statement of Information filed with the California Secretary
            of State, check the box and proceed to Item 13.

Complete Addresses for the Following (Do not abbreviate the name of the city. Items 4 and 5 cannot be P.O. Boxes.)
4.    STREET ADDRESS OF PRINCIPAL EXECUTIVE OFFICE                                                  CITY                             STATE       ZIP CODE
2780 S. JONES BLVD STE. 3637, LAS VEGAS, NV 89146
5.    STREET ADDRESS OF PRINCIPAL BUSINESS OFFICE IN CALIFORNIA, IF ANY                             CITY                             STATE       ZIP CODE


6.    MAILING ADDRESS OF THE CORPORATION, IF DIFFERENT THAN ITEM 4                                  CITY                             STATE       ZIP CODE



6.    EMAIL ADDRESS FOR RECEIVING STATUTORY NOTIFICATIONS



Names and Complete Addresses of the Following Officers (The corporation must list these three officers. A comparable title for the specific
officer may be added; however, the preprinted titles on this form must not be altered.)
7.    CHIEF EXECUTIVE OFFICER/                 ADDRESS                                              CITY                             STATE       ZIP CODE
 TAKEHISA NAITO            1619 N. LA BREA AVE #614, HOLLYWOOD, CA 90028
8.    SECRETARY                                ADDRESS                                              CITY                             STATE       ZIP CODE
KEISHI IKEDA           8760 W. PATRICK LANE UNIT 2016, LAS VEGAS, NV 89148
9.    CHIEF FINANCIAL OFFICER/                 ADDRESS                                              CITY                             STATE       ZIP CODE
KEISHI IKEDA           8760 W. PATRICK LANE UNIT 2016, LAS VEGAS, NV 89148
Agent for Service of Process If the agent is an individual, the agent must reside in California and Item 11 must be completed with a California street
address, a P.O. Box address is not acceptable. If the agent is another corporation, the agent must have on file with the California Secretary of State a
certificate pursuant to California Corporations Code section 1505 and Item 11 must be left blank.
10. NAME OF AGENT FOR SERVICE OF PROCESS [Note: The person designated as the corporation's agent MUST have agreed to act in that capacity prior to the designation.]

 BUSINESS FILINGS INCORPORATED
11. STREET ADDRESS OF AGENT FOR SERVICE OF PROCESS IN CALIFORNIA, IF AN INDIVIDUAL CITY                                              STATE       ZIP CODE



Type of Business
12. DESCRIBE THE TYPE OF BUSINESS OF THE CORPORATION
BUSINESS CONSULTING
13. THE INFORMATION CONTAINED HEREIN IS TRUE AND CORRECT.

 06/20/2017            TAKEHISA NAITO                                             PRESIDENT
      DATE               TYPE/PRINT NAME OF PERSON COMPLETING FORM                          TITLE                                 SIGNATURE
SI-350 (REV 01/2013)                                                                                                         APPROVED BY SECRETARY OF STATE

                                                                                                                                          PX19 - 55
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                              State of California
                                  Secretary of State
                              Statement of Information                                                                   G588176
                                      (Foreign Corporation)
                            FEES (Filing and Disclosure): $25.00.                                                          FILED
                         If this is an amendment, see instructions.                                          In the office of the Secretary of State
       IMPORTANT – READ INSTRUCTIONS BEFORE COMPLETING THIS FORM                                                    of the State of California
1. CORPORATE NAME
                                                                                                                       APR-19 2019
     LEAD EXPRESS, INC.




2. CALIFORNIA CORPORATE NUMBER
                                                                   C4258198                                         This Space for Filing Use Only

No Change Statement (Not applicable if agent address of record is a P.O. Box address. See instructions.)
3.    If there have been any changes to the information contained in the last Statement of Information filed with the California Secretary
      of State, or no statement of information has been previously filed, this form must be completed in its entirety.
            If there has been no change in any of the information contained in the last Statement of Information filed with the California Secretary
            of State, check the box and proceed to Item 13.

Complete Addresses for the Following (Do not abbreviate the name of the city. Items 4 and 5 cannot be P.O. Boxes.)
4.    STREET ADDRESS OF PRINCIPAL EXECUTIVE OFFICE                                                CITY                       STATE       ZIP CODE
2780 SOUTH JONES BLVD SUITE 200-3637, LAS VEGAS, NV 89146
5.    STREET ADDRESS OF PRINCIPAL BUSINESS OFFICE IN CALIFORNIA, IF ANY                           CITY                       STATE       ZIP CODE


6.    MAILING ADDRESS OF THE CORPORATION, IF DIFFERENT THAN ITEM 4                                CITY                       STATE       ZIP CODE



6.    EMAIL ADDRESS FOR RECEIVING STATUTORY NOTIFICATIONS



Names and Complete Addresses of the Following Officers (The corporation must list these three officers. A comparable title for the specific
officer may be added; however, the preprinted titles on this form must not be altered.)
7.    CHIEF EXECUTIVE OFFICER/                ADDRESS                                             CITY                       STATE       ZIP CODE
 TAKEHISA NAITO           2780 SOUTH JONES BLVD. SUITE 200-3132, LAS VEGAS, NV 89146
8.    SECRETARY                               ADDRESS                                             CITY                       STATE       ZIP CODE
KEISHI IKEDA           2780 SOUTH JONES BLVD., SUITE 200-3133, LAS VEGAS, NV 89146
9.    CHIEF FINANCIAL OFFICER/                ADDRESS                                             CITY                       STATE       ZIP CODE
KEISHI IKEDA           2780 SOUTH JONES BLVD., SUITE 200-3133, LAS VEGAS, NV 89146
Agent for Service of Process If the agent is an individual, the agent must reside in California and Item 11 must be completed with a California street
address, a P.O. Box address is not acceptable. If the agent is another corporation, the agent must have on file with the California Secretary of State a
certificate pursuant to California Corporations Code section 1505 and Item 11 must be left blank.
10. NAME OF AGENT FOR SERVICE OF PROCESS

 BUSINESS FILINGS INCORPORATED
11. STREET ADDRESS OF AGENT FOR SERVICE OF PROCESS IN CALIFORNIA, IF AN INDIVIDUAL CITY                                      STATE       ZIP CODE



Type of Business
12. DESCRIBE THE TYPE OF BUSINESS OF THE CORPORATION
BUSINESS CONSULTING
13. THE INFORMATION CONTAINED HEREIN IS TRUE AND CORRECT.

 04/19/2019            TAKEHISA NAITO                                           PRESIDENT
      DATE               TYPE/PRINT NAME OF PERSON COMPLETING FORM                        TITLE                           SIGNATURE
SI-350 (REV 01/2013)                                                                                                 APPROVED BY SECRETARY OF STATE

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                              State of California
                                  Secretary of State
                              Statement of Information                                                                   GC31537
                                      (Foreign Corporation)
                            FEES (Filing and Disclosure): $25.00.                                                          FILED
                         If this is an amendment, see instructions.                                          In the office of the Secretary of State
       IMPORTANT – READ INSTRUCTIONS BEFORE COMPLETING THIS FORM                                                    of the State of California
1. CORPORATE NAME
                                                                                                                       JAN-17 2020
     LEAD EXPRESS, INC.




2. CALIFORNIA CORPORATE NUMBER
                                                                   C4258198                                         This Space for Filing Use Only

No Change Statement (Not applicable if agent address of record is a P.O. Box address. See instructions.)
3.    If there have been any changes to the information contained in the last Statement of Information filed with the California Secretary
      of State, or no statement of information has been previously filed, this form must be completed in its entirety.
            If there has been no change in any of the information contained in the last Statement of Information filed with the California Secretary
            of State, check the box and proceed to Item 13.

Complete Addresses for the Following (Do not abbreviate the name of the city. Items 4 and 5 cannot be P.O. Boxes.)
4.    STREET ADDRESS OF PRINCIPAL EXECUTIVE OFFICE                                                CITY                       STATE       ZIP CODE
2780 SOUTH JONES BLVD. SUITE 200-3132, LAS VEGAS,, NV 89146
5.    STREET ADDRESS OF PRINCIPAL BUSINESS OFFICE IN CALIFORNIA, IF ANY                           CITY                       STATE       ZIP CODE


6.    MAILING ADDRESS OF THE CORPORATION, IF DIFFERENT THAN ITEM 4                                CITY                       STATE       ZIP CODE



6.    EMAIL ADDRESS FOR RECEIVING STATUTORY NOTIFICATIONS



Names and Complete Addresses of the Following Officers (The corporation must list these three officers. A comparable title for the specific
officer may be added; however, the preprinted titles on this form must not be altered.)
7.    CHIEF EXECUTIVE OFFICER/                ADDRESS                                             CITY                       STATE       ZIP CODE
 TAKEHISA NAITO           2780 SOUTH JONES BLVD. SUITE 200-3132, LAS VEGAS, NV 89146
8.    SECRETARY                               ADDRESS                                             CITY                       STATE       ZIP CODE
KEISHI IKEDA           2780 SOUTH JONES BLVD. SUITE 200-3132, LAS VEGAS, NV 89146
9.    CHIEF FINANCIAL OFFICER/                ADDRESS                                             CITY                       STATE       ZIP CODE
KEISHI IKEDA           2780 SOUTH JONES BLVD. SUITE 200-3132, LAS VEGAS, NV 89146
Agent for Service of Process If the agent is an individual, the agent must reside in California and Item 11 must be completed with a California street
address, a P.O. Box address is not acceptable. If the agent is another corporation, the agent must have on file with the California Secretary of State a
certificate pursuant to California Corporations Code section 1505 and Item 11 must be left blank.
10. NAME OF AGENT FOR SERVICE OF PROCESS

 BUSINESS FILINGS INCORPORATED WHICH WILL DO BUSINESS IN CALIFORNIA AS DELAWARE BUSINESS FILINGS INCORPORATED
11. STREET ADDRESS OF AGENT FOR SERVICE OF PROCESS IN CALIFORNIA, IF AN INDIVIDUAL CITY                                      STATE       ZIP CODE



Type of Business
12. DESCRIBE THE TYPE OF BUSINESS OF THE CORPORATION
BUSINESS CONSULTING
13. THE INFORMATION CONTAINED HEREIN IS TRUE AND CORRECT.

 01/17/2020            TAKEHISA NAITO                                           PRESIDENT
      DATE               TYPE/PRINT NAME OF PERSON COMPLETING FORM                        TITLE                           SIGNATURE
SI-350 (REV 01/2013)                                                                                                 APPROVED BY SECRETARY OF STATE

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       ATTACHMENT B




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                               State of California                                                    S              E-H54922
                                Secretary of State
                                                                                                                     FILED
                              Statement of Information                                                      In the office of the Secretary of
             (Domestic Stock and Agricultural Cooperative Corporations)                                      State of the State of California

     FEES (Filing and Disclosure): $25.00. If amendment, see instructions.                                          Nov - 30 2011
    IMPORTANT - READ INSTRUCTIONS BEFORE COMPLETING THIS FORM                                                This Space For Filing Use Only
1. CORPORATE NAME
 C3425801
 CAMEL COINS




Due Date:
Complete Addresses for the Following (Do not abbreviate the name of the city. Items 2 and 3 cannot be P.O. Boxes.)
2. STREET ADDRESS OF PRINCIPAL EXECUTIVE OFFICE                                CITY                         STATE            ZIP CODE
 1930 WILSHIRE BLVD. SUITE 400         LOS ANGELES CA 90057
3. STREET ADDRESS OF PRINCIPAL BUSINESS OFFICE IN CALIFORNIA, IF ANY            CITY                         STATE            ZIP CODE
 1930 WILSHIRE BLVD. SUITE 400         LOS ANGELES CA 90057
4. MAILING ADDRESS OF THE CORPORATION, IF DIFFERENT THAN ITEM 2                CITY                          STATE           ZIP CODE



Names and Complete Addresses of the Following Officers (The corporation must list these three officers. A comparable
title for the specific officer may be added; however, the preprinted titles on this form must not be altered.)
5. CHIEF EXECUTIVE OFFICER/              ADDRESS                                CITY                         STATE            ZIP CODE
 TAKEHISA       NAITO 6260 W 3RD ST. #407         LOS ANGELES, CA 90036
6. SECRETARY                             ADDRESS                                CITY                         STATE            ZIP CODE
 TAKEHISA       NAITO 6260 W 3RD ST. #407       LOS ANGELES, CA 90036
7. CHIEF FINANCIAL OFFICER/              ADDRESS                                CITY                         STATE            ZIP CODE
 TAKEHISA       NAITO 6260 W 3RD ST. #407       LOS ANGELES CA 90036
Names and Complete Addresses of All Directors, Including Directors Who Are Also Officers (The corporation
must have at least one director. Attach additional pages, if necessary.)
8. NAME                                  ADDRESS                                CITY                         STATE            ZIP CODE
 TAKEHISA NAITO           6260 W 3RD ST. #407     LOS ANGELES, CA 90036
9. NAME                                 ADDRESS                                 CITY                         STATE            ZIP CODE


10. NAME                                 ADDRESS                                CITY                         STATE            ZIP CODE


11. NUMBER OF VACANCIES ON THE BOARD OF DIRECTORS, IF ANY:
Agent for Service of Process (If the agent is an individual, the agent must reside in California and Item 13 must be completed
with a California street address (a P.O.Box address is not acceptable). If the agent is another corporation, the agent must have on file with
the California Secretary of State a certificate pursuant to California Corporations Code section 1505 and Item 13 must be left blank.)
12. NAME OF AGENT FOR SERVICE OF PROCESS

 BUSINESS FILINGS INCORPORATED
13. STREET ADDRESS OF AGENT FOR SERVICE OF PROCESS IN CALIFORNIA, IF AN INDIVIDUAL         CITY              STATE            ZIP CODE



Type of Business
14. DESCRIBE THE TYPE OF BUSINESS OF THE CORPORATION
  MR. NAITO HAS EXPERIENCE IN FI
15. BY SUBMITTING THIS STATEMENT OF INFORMATION TO THE CALIFORNIA SECRETARY OF STATE, THE CORPORATION CERTIFIES THE INFORMATION
    CONTAINED HEREIN, INCLUDING ANY ATTACHMENTS, IS TRUE AND CORRECT.
    11/30/2011                TAKEHISA NAITO                                            PRESIDENT
      DATE                TYPE OR PRINT NAME OF PERSON COMPLETING THE FORM                          TITLE                       SIGNATURE

 SI-200 C (REV 10/2010)                                                                                                PX19
                                                                                                             APPROVED BY     - 74 OF STATE
                                                                                                                         SECRETARY
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                               State of California
                                   Secretary of State
                               Statement of Information                                                                          FN37401
                                       (Foreign Corporation)
                            FEES (Filing and Disclosure): $25.00.                                                                  FILED
                         If this is an amendment, see instructions.                                                In the office of the Secretary of State
       IMPORTANT – READ INSTRUCTIONS BEFORE COMPLETING THIS FORM                                                          of the State of California
1. CORPORATE NAME
                                                                                                                                JUN-20 2017
     LEAD EXPRESS, INC.




2. CALIFORNIA CORPORATE NUMBER
                                                                    C3606656                                                This Space for Filing Use Only

No Change Statement (Not applicable if agent address of record is a P.O. Box address. See instructions.)
3.    If there have been any changes to the information contained in the last Statement of Information filed with the California Secretary
      of State, or no statement of information has been previously filed, this form must be completed in its entirety.
            If there has been no change in any of the information contained in the last Statement of Information filed with the California Secretary
            of State, check the box and proceed to Item 13.

Complete Addresses for the Following (Do not abbreviate the name of the city. Items 4 and 5 cannot be P.O. Boxes.)
4.    STREET ADDRESS OF PRINCIPAL EXECUTIVE OFFICE                                                  CITY                             STATE       ZIP CODE
2780 S. JONES BLVD STE. 3637, LAS VEGAS, NV 89146
5.    STREET ADDRESS OF PRINCIPAL BUSINESS OFFICE IN CALIFORNIA, IF ANY                             CITY                             STATE       ZIP CODE


6.    MAILING ADDRESS OF THE CORPORATION, IF DIFFERENT THAN ITEM 4                                  CITY                             STATE       ZIP CODE



6.    EMAIL ADDRESS FOR RECEIVING STATUTORY NOTIFICATIONS



Names and Complete Addresses of the Following Officers (The corporation must list these three officers. A comparable title for the specific
officer may be added; however, the preprinted titles on this form must not be altered.)
7.    CHIEF EXECUTIVE OFFICER/                 ADDRESS                                              CITY                             STATE       ZIP CODE
 TAKEHISA NAITO            1619 N. LA BREA AVE #614, HOLLYWOOD, CA 90028
8.    SECRETARY                                ADDRESS                                              CITY                             STATE       ZIP CODE
KEISHI IKEDA           8760 W. PATRICK LANE UNIT 2016, LAS VEGAS, NV 89148
9.    CHIEF FINANCIAL OFFICER/                 ADDRESS                                              CITY                             STATE       ZIP CODE
KEISHI IKEDA           8760 W. PATRICK LANE UNIT 2016, LAS VEGAS, NV 89148
Agent for Service of Process If the agent is an individual, the agent must reside in California and Item 11 must be completed with a California street
address, a P.O. Box address is not acceptable. If the agent is another corporation, the agent must have on file with the California Secretary of State a
certificate pursuant to California Corporations Code section 1505 and Item 11 must be left blank.
10. NAME OF AGENT FOR SERVICE OF PROCESS [Note: The person designated as the corporation's agent MUST have agreed to act in that capacity prior to the designation.]

 BUSINESS FILINGS INCORPORATED
11. STREET ADDRESS OF AGENT FOR SERVICE OF PROCESS IN CALIFORNIA, IF AN INDIVIDUAL CITY                                              STATE       ZIP CODE



Type of Business
12. DESCRIBE THE TYPE OF BUSINESS OF THE CORPORATION
BUSINESS CONSULTING
13. THE INFORMATION CONTAINED HEREIN IS TRUE AND CORRECT.

 06/20/2017            TAKEHISA NAITO                                             PRESIDENT
      DATE               TYPE/PRINT NAME OF PERSON COMPLETING FORM                          TITLE                                 SIGNATURE
SI-350 (REV 01/2013)                                                                                                         APPROVED BY SECRETARY OF STATE

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                              State of California
                                  Secretary of State
                              Statement of Information                                                                   FX86890
                                      (Foreign Corporation)
                            FEES (Filing and Disclosure): $25.00.                                                          FILED
                         If this is an amendment, see instructions.                                          In the office of the Secretary of State
       IMPORTANT – READ INSTRUCTIONS BEFORE COMPLETING THIS FORM                                                    of the State of California
1. CORPORATE NAME
                                                                                                                        JUL-06 2018
     CAMEL COINS, INC.




2. CALIFORNIA CORPORATE NUMBER
                                                                   C3606651                                         This Space for Filing Use Only

No Change Statement (Not applicable if agent address of record is a P.O. Box address. See instructions.)
3.    If there have been any changes to the information contained in the last Statement of Information filed with the California Secretary
      of State, or no statement of information has been previously filed, this form must be completed in its entirety.
            If there has been no change in any of the information contained in the last Statement of Information filed with the California Secretary
            of State, check the box and proceed to Item 13.

Complete Addresses for the Following (Do not abbreviate the name of the city. Items 4 and 5 cannot be P.O. Boxes.)
4.    STREET ADDRESS OF PRINCIPAL EXECUTIVE OFFICE                                                CITY                       STATE       ZIP CODE
2780 S. JONES BLVD #3695, LAS VEGAS, NV 89146
5.    STREET ADDRESS OF PRINCIPAL BUSINESS OFFICE IN CALIFORNIA, IF ANY                           CITY                       STATE       ZIP CODE


6.    MAILING ADDRESS OF THE CORPORATION, IF DIFFERENT THAN ITEM 4                                CITY                       STATE       ZIP CODE



6.    EMAIL ADDRESS FOR RECEIVING STATUTORY NOTIFICATIONS



Names and Complete Addresses of the Following Officers (The corporation must list these three officers. A comparable title for the specific
officer may be added; however, the preprinted titles on this form must not be altered.)
7.    CHIEF EXECUTIVE OFFICER/                ADDRESS                                             CITY                       STATE       ZIP CODE
 TAKEHISA NAITO           1619 N. LA BREA AVE, APT. #614, HOLLYWOOD, CA 90028
8.    SECRETARY                               ADDRESS                                             CITY                       STATE       ZIP CODE
KEISHI IKEDA           8760 W. PATRICK LANE UNIT 2016, LAS VEGAS, NV 89148
9.    CHIEF FINANCIAL OFFICER/                ADDRESS                                             CITY                       STATE       ZIP CODE
KEISHI IKEDA           8760 W. PATRICK LANE UNIT 2016, LAS VEGAS, NV 89148
Agent for Service of Process If the agent is an individual, the agent must reside in California and Item 11 must be completed with a California street
address, a P.O. Box address is not acceptable. If the agent is another corporation, the agent must have on file with the California Secretary of State a
certificate pursuant to California Corporations Code section 1505 and Item 11 must be left blank.
10. NAME OF AGENT FOR SERVICE OF PROCESS

 BUSINESS FILINGS INCORPORATED
11. STREET ADDRESS OF AGENT FOR SERVICE OF PROCESS IN CALIFORNIA, IF AN INDIVIDUAL CITY                                      STATE       ZIP CODE



Type of Business
12. DESCRIBE THE TYPE OF BUSINESS OF THE CORPORATION
BUSINESS CONSULTING
13. THE INFORMATION CONTAINED HEREIN IS TRUE AND CORRECT.

 07/06/2018            TAKEHISA NAITO                                           PRESIDENT
      DATE               TYPE/PRINT NAME OF PERSON COMPLETING FORM                        TITLE                           SIGNATURE
SI-350 (REV 01/2013)                                                                                                 APPROVED BY SECRETARY OF STATE

                                                                                                                                  PX19 - 79
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                                                                                                         F
                              State of California
                                  Secretary of State
                              Statement of Information                                                                   GA97645
                                      (Foreign Corporation)
                           FEES (Filing and Disclosure): $25.00.                                                           FILED
                        If this is an amendment, see instructions.                                           In the office of the Secretary of State
       IMPORTANT – READ INSTRUCTIONS BEFORE COMPLETING THIS FORM                                                    of the State of California
1. CORPORATE NAME
                                                                                                                       NOV-25 2019
     CAMEL COINS, INC.




2. CALIFORNIA CORPORATE NUMBER
                                                                   C3606651                                         This Space for Filing Use Only

No Change Statement (Not applicable if agent address of record is a P.O. Box address. See instructions.)
3.    If there have been any changes to the information contained in the last Statement of Information filed with the California Secretary
      of State, or no statement of information has been previously filed, this form must be completed in its entirety.
       ✔ If there has been no change in any of the information contained in the last Statement of Information filed with the California Secretary
            of State, check the box and proceed to Item 13.

Complete Addresses for the Following (Do not abbreviate the name of the city. Items 4 and 5 cannot be P.O. Boxes.)
4.    STREET ADDRESS OF PRINCIPAL EXECUTIVE OFFICE                                                CITY                       STATE       ZIP CODE


5.    STREET ADDRESS OF PRINCIPAL BUSINESS OFFICE IN CALIFORNIA, IF ANY                           CITY                       STATE       ZIP CODE


6.    MAILING ADDRESS OF THE CORPORATION, IF DIFFERENT THAN ITEM 4                                CITY                       STATE       ZIP CODE



6.    EMAIL ADDRESS FOR RECEIVING STATUTORY NOTIFICATIONS



Names and Complete Addresses of the Following Officers (The corporation must list these three officers. A comparable title for the specific
officer may be added; however, the preprinted titles on this form must not be altered.)
7.    CHIEF EXECUTIVE OFFICER/                ADDRESS                                             CITY                       STATE       ZIP CODE


8.    SECRETARY                               ADDRESS                                             CITY                       STATE       ZIP CODE


9.    CHIEF FINANCIAL OFFICER/                ADDRESS                                             CITY                       STATE       ZIP CODE


Agent for Service of Process If the agent is an individual, the agent must reside in California and Item 11 must be completed with a California street
address, a P.O. Box address is not acceptable. If the agent is another corporation, the agent must have on file with the California Secretary of State a
certificate pursuant to California Corporations Code section 1505 and Item 11 must be left blank.
10. NAME OF AGENT FOR SERVICE OF PROCESS



11. STREET ADDRESS OF AGENT FOR SERVICE OF PROCESS IN CALIFORNIA, IF AN INDIVIDUAL CITY                                      STATE       ZIP CODE



Type of Business
12. DESCRIBE THE TYPE OF BUSINESS OF THE CORPORATION



13. THE INFORMATION CONTAINED HEREIN IS TRUE AND CORRECT.

 11/25/2019            KEISHI IKEDA                                             CFO
      DATE               TYPE/PRINT NAME OF PERSON COMPLETING FORM                        TITLE                           SIGNATURE
SI-350 (REV 01/2013)                                                                                                 APPROVED BY SECRETARY OF STATE

                                                                                                                                  PX19 - 80
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       ATTACHMENT C




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                                                                 PX19 - 82
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                                                                 PX19 - 83
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                                                Filed in the Office of   Business Number
                                                                         E0488742018-0
                                                                         Filing Number
                                                                         20180454187-40
                                                Secretary                Filed On
                                                State Of Nevada          10/17/2018
                                                                         Number of Pages
                                                                         1




                                                                           PX19 - 86
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                                                Filed in the Office of   Business Number
                                                                         E0488742018-0
                                                                         Filing Number
                                                                         20180454188-51
                                                Secretary                Filed On
                                                State Of Nevada          10/17/2018
                                                                         Number of Pages
                                                                         1




                                                                           PX19 - 87
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                                                Filed in the Office of   Business Number
                                                                         E0488742018-0
                                                                         Filing Number
                                                                         20180454189-62
                                                Secretary                Filed On
                                                State Of Nevada          10/17/2018
                                                                         Number of Pages
                                                                         1




                                                                           PX19 - 88
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                                                                 PX19 - 91
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                                                                 PX19 - 92
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                                 State of California                                                  S
                                    Secretary of State
                              Statement of Information                                                                          FN37401
              (Domestic Stock and Agricultural Cooperative Corporations)
                            FEES (Filing and Disclosure): $25.00.
                         If this is an amendment, see instructions.                                                             FILED
       IMPORTANT – READ INSTRUCTIONS BEFORE COMPLETING THIS FORM                                                  In the office of the Secretary of State
1. CORPORATE NAME                                                                                                        of the State of California
LEAD EXPRESS, INC.

                                                                                                                               JUN-20 2017


2. CALIFORNIA CORPORATE NUMBER
                                                C3606656                                                                  This Space for Filing Use Only

No Change Statement (Not applicable if agent address of record is a P.O. Box address. See instructions.)
3.    If there have been any changes to the information contained in the last Statement of Information filed with the California Secretary
      of State, or no statement of information has been previously filed, this form must be completed in its entirety.
            If there has been no change in any of the information contained in the last Statement of Information filed with the California Secretary
            of State, check the box and proceed to Item 17.

Complete Addresses for the Following (Do not abbreviate the name of the city. Items 4 and 5 cannot be P.O. Boxes.)
4.    STREET ADDRESS OF PRINCIPAL EXECUTIVE OFFICE                                                CITY                            STATE        ZIP CODE
2780 S. JONES BLVD STE. 3637, LAS VEGAS, NV 89146
5.    STREET ADDRESS OF PRINCIPAL BUSINESS OFFICE IN CALIFORNIA, IF ANY                           CITY                            STATE        ZIP CODE
355 S. GRAND AVE. STE. 2450, LOS ANGELES, CA 90071
6.    MAILING ADDRESS OF CORPORATION, IF DIFFERENT THAN ITEM 4                                    CITY                            STATE        ZIP CODE


7.    EMAIL ADDRESS FOR RECEIVING STATUTORY NOTIFICATIONS


Names and Complete Addresses of the Following Officers (The corporation must list these three officers. A comparable title for the specific
officer may be added; however, the preprinted titles on this form must not be altered.)
7.    CHIEF EXECUTIVE OFFICER/                 ADDRESS                                            CITY                            STATE        ZIP CODE
     TAKEHISA NAITO         1619 N. LA BREA AVE #614, HOLLYWOOD, CA 90028
8.    SECRETARY                                ADDRESS                                            CITY                            STATE        ZIP CODE
     KEISHI IKEDA       8760 W. PATRICK LANE UNIT 2016, LAS VEGAS, NV 89148
9.    CHIEF FINANCIAL OFFICER/                 ADDRESS                                            CITY                            STATE        ZIP CODE
     KEISHI IKEDA       8760 W. PATRICK LANE UNIT 2016, LAS VEGAS, NV 89148
Names and Complete Addresses of All Directors, Including Directors Who are Also Officers (The corporation must have at least one
director. Attach additional pages, if necessary.)
10. NAME                                       ADDRESS                                            CITY                            STATE        ZIP CODE
 TAKEHISA NAITO            1619 N. LA BREA AVE #614, HOLLYWOOD, CA 90028
11. NAME                                       ADDRESS                                            CITY                            STATE        ZIP CODE


12. NAME                                       ADDRESS                                            CITY                            STATE        ZIP CODE


13. NUMBER OF VACANCIES ON THE BOARD OF DIRECTORS, IF ANY:
Agent for Service of Process If the agent is an individual, the agent must reside in California and Item 15 must be completed with a California street
address, a P.O. Box address is not acceptable. If the agent is another corporation, the agent must have on file with the California Secretary of State a
certificate pursuant to California Corporations Code section 1505 and Item 15 must be left blank.
14. NAME OF AGENT FOR SERVICE OF PROCESS [Note: The person designated as the corporation's agent MUST have agreed to act in that capacity prior to the designation.]
 BUSINESS FILINGS INCORPORATED
15. STREET ADDRESS OF AGENT FOR SERVICE OF PROCESS IN CALIFORNIA, IF AN INDIVIDUAL CITY                                           STATE        ZIP CODE


Type of Business
16. DESCRIBE THE TYPE OF BUSINESS OF THE CORPORATION
 BUSINESS CONSULTING
17. BY SUBMITTING THIS STATEMENT OF INFORMATION TO THE CALIFORNIA SECRETARY OF STATE, THE CORPORATION CERTIFIES THE INFORMATION
    CONTAINED HEREIN, INCLUDING ANY ATTACHMENTS, IS TRUE AND CORRECT.
06/20/2017             TAKEHISA NAITO                                              PRESIDENT
     DATE                TYPE/PRINT NAME OF PERSON COMPLETING FORM                           TITLE
                                                                                                                                         PX19 - 93
                                                                                                                                  SIGNATURE
SI-200 (REV 01/2013)                                                     Page 1 of 1                                       APPROVED BY SECRETARY OF STATE
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                                                                                                         F
                              State of California
                                  Secretary of State
                              Statement of Information                                                                   G588776
                                      (Foreign Corporation)
                            FEES (Filing and Disclosure): $25.00.                                                          FILED
                         If this is an amendment, see instructions.                                          In the office of the Secretary of State
       IMPORTANT – READ INSTRUCTIONS BEFORE COMPLETING THIS FORM                                                    of the State of California
1. CORPORATE NAME
                                                                                                                       APR-19 2019
     SEA MIRROR, INC.




2. CALIFORNIA CORPORATE NUMBER
                                                                   C4258692                                         This Space for Filing Use Only

No Change Statement (Not applicable if agent address of record is a P.O. Box address. See instructions.)
3.    If there have been any changes to the information contained in the last Statement of Information filed with the California Secretary
      of State, or no statement of information has been previously filed, this form must be completed in its entirety.
            If there has been no change in any of the information contained in the last Statement of Information filed with the California Secretary
            of State, check the box and proceed to Item 13.

Complete Addresses for the Following (Do not abbreviate the name of the city. Items 4 and 5 cannot be P.O. Boxes.)
4.    STREET ADDRESS OF PRINCIPAL EXECUTIVE OFFICE                                                CITY                       STATE       ZIP CODE
2780 SOUTH JONES BOULEVARD SUITE 200-3692, LAS VEGAS, NV 89146
5.    STREET ADDRESS OF PRINCIPAL BUSINESS OFFICE IN CALIFORNIA, IF ANY                           CITY                       STATE       ZIP CODE


6.    MAILING ADDRESS OF THE CORPORATION, IF DIFFERENT THAN ITEM 4                                CITY                       STATE       ZIP CODE



6.    EMAIL ADDRESS FOR RECEIVING STATUTORY NOTIFICATIONS



Names and Complete Addresses of the Following Officers (The corporation must list these three officers. A comparable title for the specific
officer may be added; however, the preprinted titles on this form must not be altered.)
7.    CHIEF EXECUTIVE OFFICER/                ADDRESS                                             CITY                       STATE       ZIP CODE
 TAKEHISA NAITO           2780 SOUTH JONES BOULEVARD SUITE 200-3132, LAS VEGAS, NV 89146
8.    SECRETARY                               ADDRESS                                             CITY                       STATE       ZIP CODE
KEISHI IKEDA           2780 SOUTH JONES BOULEVARD SUITE 200-3133, LAS VEGAS, NV 89146
9.    CHIEF FINANCIAL OFFICER/                ADDRESS                                             CITY                       STATE       ZIP CODE
KEISHI IKEDA           2780 SOUTH JONES BOULEVARD SUITE 200-3133, LAS VEGAS, NV 89146
Agent for Service of Process If the agent is an individual, the agent must reside in California and Item 11 must be completed with a California street
address, a P.O. Box address is not acceptable. If the agent is another corporation, the agent must have on file with the California Secretary of State a
certificate pursuant to California Corporations Code section 1505 and Item 11 must be left blank.
10. NAME OF AGENT FOR SERVICE OF PROCESS

 BUSINESS FILINGS INCORPORATED
11. STREET ADDRESS OF AGENT FOR SERVICE OF PROCESS IN CALIFORNIA, IF AN INDIVIDUAL CITY                                      STATE       ZIP CODE



Type of Business
12. DESCRIBE THE TYPE OF BUSINESS OF THE CORPORATION
BUSINESS CONSULTING
13. THE INFORMATION CONTAINED HEREIN IS TRUE AND CORRECT.

 04/19/2019            TAKEHISA NAITO                                           PRESIDENT
      DATE               TYPE/PRINT NAME OF PERSON COMPLETING FORM                        TITLE                           SIGNATURE
SI-350 (REV 01/2013)                                                                                                 APPROVED BY SECRETARY OF STATE

                                                                                                                                  PX19 - 97
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                              State of California
                                  Secretary of State
                              Statement of Information                                                                   GC39535
                                      (Foreign Corporation)
                           FEES (Filing and Disclosure): $25.00.                                                           FILED
                        If this is an amendment, see instructions.                                           In the office of the Secretary of State
       IMPORTANT – READ INSTRUCTIONS BEFORE COMPLETING THIS FORM                                                    of the State of California
1. CORPORATE NAME
                                                                                                                       JAN-21 2020
     SEA MIRROR, INC.




2. CALIFORNIA CORPORATE NUMBER
                                                                   C4258692                                         This Space for Filing Use Only

No Change Statement (Not applicable if agent address of record is a P.O. Box address. See instructions.)
3.    If there have been any changes to the information contained in the last Statement of Information filed with the California Secretary
      of State, or no statement of information has been previously filed, this form must be completed in its entirety.
       ✔ If there has been no change in any of the information contained in the last Statement of Information filed with the California Secretary
            of State, check the box and proceed to Item 13.

Complete Addresses for the Following (Do not abbreviate the name of the city. Items 4 and 5 cannot be P.O. Boxes.)
4.    STREET ADDRESS OF PRINCIPAL EXECUTIVE OFFICE                                                CITY                       STATE       ZIP CODE


5.    STREET ADDRESS OF PRINCIPAL BUSINESS OFFICE IN CALIFORNIA, IF ANY                           CITY                       STATE       ZIP CODE


6.    MAILING ADDRESS OF THE CORPORATION, IF DIFFERENT THAN ITEM 4                                CITY                       STATE       ZIP CODE



6.    EMAIL ADDRESS FOR RECEIVING STATUTORY NOTIFICATIONS



Names and Complete Addresses of the Following Officers (The corporation must list these three officers. A comparable title for the specific
officer may be added; however, the preprinted titles on this form must not be altered.)
7.    CHIEF EXECUTIVE OFFICER/                ADDRESS                                             CITY                       STATE       ZIP CODE


8.    SECRETARY                               ADDRESS                                             CITY                       STATE       ZIP CODE


9.    CHIEF FINANCIAL OFFICER/                ADDRESS                                             CITY                       STATE       ZIP CODE


Agent for Service of Process If the agent is an individual, the agent must reside in California and Item 11 must be completed with a California street
address, a P.O. Box address is not acceptable. If the agent is another corporation, the agent must have on file with the California Secretary of State a
certificate pursuant to California Corporations Code section 1505 and Item 11 must be left blank.
10. NAME OF AGENT FOR SERVICE OF PROCESS



11. STREET ADDRESS OF AGENT FOR SERVICE OF PROCESS IN CALIFORNIA, IF AN INDIVIDUAL CITY                                      STATE       ZIP CODE



Type of Business
12. DESCRIBE THE TYPE OF BUSINESS OF THE CORPORATION



13. THE INFORMATION CONTAINED HEREIN IS TRUE AND CORRECT.

 01/21/2020            TAKEHISA NAITO                                           CEO
      DATE               TYPE/PRINT NAME OF PERSON COMPLETING FORM                        TITLE                           SIGNATURE
SI-350 (REV 01/2013)                                                                                                 APPROVED BY SECRETARY OF STATE

                                                                                                                                  PX19 - 98
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        ATTACHMENT D




                                                                 PX19 - 99
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                                                 Filed in the Office of   Business Number
                                                                          E0472392018-9
                                                                          Filing Number
                                                                          20180440620-17
                                                 Secretary                Filed On
                                                 State Of Nevada          10/05/2018
                                                                          Number of Pages
                                                                          1




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                                                 Filed in the Office of   Business Number
                                                                          E0472392018-9
                                                                          Filing Number
                                                                          20180440619-85
                                                 Secretary                Filed On
                                                 State Of Nevada          10/05/2018
                                                                          Number of Pages
                                                                          1




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                                                 Filed in the Office of   Business Number
                                                                          E0472392018-9
                                                                          Filing Number
                                                                          20180440622-39
                                                 Secretary                Filed On
                                                 State Of Nevada          10/05/2018
                                                                          Number of Pages
                                                                          1




                                                                           PX19 - 102
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                                 State of California                                                  S
                                    Secretary of State
                              Statement of Information                                                                          FN37401
              (Domestic Stock and Agricultural Cooperative Corporations)
                            FEES (Filing and Disclosure): $25.00.
                         If this is an amendment, see instructions.                                                             FILED
       IMPORTANT – READ INSTRUCTIONS BEFORE COMPLETING THIS FORM                                                  In the office of the Secretary of State
1. CORPORATE NAME                                                                                                        of the State of California
LEAD EXPRESS, INC.

                                                                                                                               JUN-20 2017


2. CALIFORNIA CORPORATE NUMBER
                                                C3606656                                                                  This Space for Filing Use Only

No Change Statement (Not applicable if agent address of record is a P.O. Box address. See instructions.)
3.    If there have been any changes to the information contained in the last Statement of Information filed with the California Secretary
      of State, or no statement of information has been previously filed, this form must be completed in its entirety.
            If there has been no change in any of the information contained in the last Statement of Information filed with the California Secretary
            of State, check the box and proceed to Item 17.

Complete Addresses for the Following (Do not abbreviate the name of the city. Items 4 and 5 cannot be P.O. Boxes.)
4.    STREET ADDRESS OF PRINCIPAL EXECUTIVE OFFICE                                                CITY                            STATE        ZIP CODE
2780 S. JONES BLVD STE. 3637, LAS VEGAS, NV 89146
5.    STREET ADDRESS OF PRINCIPAL BUSINESS OFFICE IN CALIFORNIA, IF ANY                           CITY                            STATE        ZIP CODE
1930 WILSHIRE BLVD STE 400, LOS ANGELES, CA 90057
6.    MAILING ADDRESS OF CORPORATION, IF DIFFERENT THAN ITEM 4                                    CITY                            STATE        ZIP CODE


7.    EMAIL ADDRESS FOR RECEIVING STATUTORY NOTIFICATIONS


Names and Complete Addresses of the Following Officers (The corporation must list these three officers. A comparable title for the specific
officer may be added; however, the preprinted titles on this form must not be altered.)
7.    CHIEF EXECUTIVE OFFICER/                 ADDRESS                                            CITY                            STATE        ZIP CODE
     TAKEHISA NAITO         1619 N. LA BREA AVE #614, HOLLYWOOD, CA 90028
8.    SECRETARY                                ADDRESS                                            CITY                            STATE        ZIP CODE
     KEISHI IKEDA       8760 W. PATRICK LANE UNIT 2016, LAS VEGAS, NV 89148
9.    CHIEF FINANCIAL OFFICER/                 ADDRESS                                            CITY                            STATE        ZIP CODE
     KEISHI IKEDA       8760 W. PATRICK LANE UNIT 2016, LAS VEGAS, NV 89148
Names and Complete Addresses of All Directors, Including Directors Who are Also Officers (The corporation must have at least one
director. Attach additional pages, if necessary.)
10. NAME                                       ADDRESS                                            CITY                            STATE        ZIP CODE
 TAKEHISA NAITO            1619 N. LA BREA AVE #614, HOLLYWOOD, CA 90028
11. NAME                                       ADDRESS                                            CITY                            STATE        ZIP CODE


12. NAME                                       ADDRESS                                            CITY                            STATE        ZIP CODE


13. NUMBER OF VACANCIES ON THE BOARD OF DIRECTORS, IF ANY:
Agent for Service of Process If the agent is an individual, the agent must reside in California and Item 15 must be completed with a California street
address, a P.O. Box address is not acceptable. If the agent is another corporation, the agent must have on file with the California Secretary of State a
certificate pursuant to California Corporations Code section 1505 and Item 15 must be left blank.
14. NAME OF AGENT FOR SERVICE OF PROCESS [Note: The person designated as the corporation's agent MUST have agreed to act in that capacity prior to the designation.]
 BUSINESS FILINGS INCORPORATED
15. STREET ADDRESS OF AGENT FOR SERVICE OF PROCESS IN CALIFORNIA, IF AN INDIVIDUAL CITY                                           STATE        ZIP CODE


Type of Business
16. DESCRIBE THE TYPE OF BUSINESS OF THE CORPORATION
 BUSINESS CONSULTING
17. BY SUBMITTING THIS STATEMENT OF INFORMATION TO THE CALIFORNIA SECRETARY OF STATE, THE CORPORATION CERTIFIES THE INFORMATION
    CONTAINED HEREIN, INCLUDING ANY ATTACHMENTS, IS TRUE AND CORRECT.
06/20/2017             TAKEHISA NAITO                                              PRESIDENT
     DATE                TYPE/PRINT NAME OF PERSON COMPLETING FORM                           TITLE
                                                                                                                                       PX19 - 105
                                                                                                                                  SIGNATURE
SI-200 (REV 01/2013)                                                     Page 1 of 1                                       APPROVED BY SECRETARY OF STATE
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                                 State of California                                              S
                                    Secretary of State
                              Statement of Information                                                                  FW50285
              (Domestic Stock and Agricultural Cooperative Corporations)
                            FEES (Filing and Disclosure): $25.00.
                         If this is an amendment, see instructions.
                                                                                                                        FILED
       IMPORTANT – READ INSTRUCTIONS BEFORE COMPLETING THIS FORM                                           In the office of the Secretary of State
1. CORPORATE NAME                                                                                                 of the State of California
NAITO, CORP.

                                                                                                                       MAY-04 2018


2. CALIFORNIA CORPORATE NUMBER
                                               C2900416                                                            This Space for Filing Use Only

No Change Statement (Not applicable if agent address of record is a P.O. Box address. See instructions.)
3.    If there have been any changes to the information contained in the last Statement of Information filed with the California Secretary
      of State, or no statement of information has been previously filed, this form must be completed in its entirety.
            If there has been no change in any of the information contained in the last Statement of Information filed with the California Secretary
            of State, check the box and proceed to Item 17.

Complete Addresses for the Following (Do not abbreviate the name of the city. Items 4 and 5 cannot be P.O. Boxes.)
4.    STREET ADDRESS OF PRINCIPAL EXECUTIVE OFFICE                                            CITY                         STATE        ZIP CODE
1930 WILSHIRE BLVD STE 400, LOS ANGELES, CA 90057
5.    STREET ADDRESS OF PRINCIPAL BUSINESS OFFICE IN CALIFORNIA, IF ANY                       CITY                         STATE        ZIP CODE
1930 WILSHIRE BLVD STE 400, LOS ANGELES, CA 90057
6.    MAILING ADDRESS OF CORPORATION, IF DIFFERENT THAN ITEM 4                                CITY                         STATE        ZIP CODE


7.    EMAIL ADDRESS FOR RECEIVING STATUTORY NOTIFICATIONS


Names and Complete Addresses of the Following Officers (The corporation must list these three officers. A comparable title for the specific
officer may be added; however, the preprinted titles on this form must not be altered.)
7.    CHIEF EXECUTIVE OFFICER/                ADDRESS                                         CITY                         STATE        ZIP CODE
 TAKEHISA NAITO             1619 N. LA BREA AVE APT 614, HOLLYWOOD, CA 90028
8.    SECRETARY                               ADDRESS                                         CITY                         STATE        ZIP CODE
 KEISHI IKEDA           8760 WEST PATRICK LANE UNIT 2016, LAS VEGAS, NV 89148
9.    CHIEF FINANCIAL OFFICER/                ADDRESS                                         CITY                         STATE        ZIP CODE
     KEISHI IKEDA       8760 WEST PATRICK LANE UNIT 2016, LAS VEGAS, NV 89148
Names and Complete Addresses of All Directors, Including Directors Who are Also Officers (The corporation must have at least one
director. Attach additional pages, if necessary.)
10. NAME                                      ADDRESS                                         CITY                         STATE        ZIP CODE
 TAKEHISA NAITO            1619 N. LA BREA AVE APT 614, HOLLYWOOD, CA 90028
11. NAME                                      ADDRESS                                         CITY                         STATE        ZIP CODE


12. NAME                                      ADDRESS                                         CITY                         STATE        ZIP CODE


13. NUMBER OF VACANCIES ON THE BOARD OF DIRECTORS, IF ANY:
Agent for Service of Process If the agent is an individual, the agent must reside in California and Item 15 must be completed with a California street
address, a P.O. Box address is not acceptable. If the agent is another corporation, the agent must have on file with the California Secretary of State a
certificate pursuant to California Corporations Code section 1505 and Item 15 must be left blank.
14. NAME OF AGENT FOR SERVICE OF PROCESS
 BUSINESS FILINGS INCORPORATED
15. STREET ADDRESS OF AGENT FOR SERVICE OF PROCESS IN CALIFORNIA, IF AN INDIVIDUAL CITY                                    STATE        ZIP CODE


Type of Business
16. DESCRIBE THE TYPE OF BUSINESS OF THE CORPORATION
BUSINESS CONSULTING
17. BY SUBMITTING THIS STATEMENT OF INFORMATION TO THE CALIFORNIA SECRETARY OF STATE, THE CORPORATION CERTIFIES THE INFORMATION
    CONTAINED HEREIN, INCLUDING ANY ATTACHMENTS, IS TRUE AND CORRECT.
05/04/2018             TAKEHISA NAITO                                            PRESIDENT
     DATE                TYPE/PRINT NAME OF PERSON COMPLETING FORM                        TITLE                            SIGNATURE
                                                                                                                                PX19 - 106
SI-200 (REV 01/2013)                                                   Page 1 of 1                                  APPROVED BY SECRETARY OF STATE
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                  Case 2:20-cv-00840-JAD-NJK Document 3-6 Filed 05/11/20 Page 111 of 149

                                                                                                         F
                              State of California
                                  Secretary of State
                              Statement of Information                                                                   G587646
                                      (Foreign Corporation)
                            FEES (Filing and Disclosure): $25.00.                                                          FILED
                         If this is an amendment, see instructions.                                          In the office of the Secretary of State
       IMPORTANT – READ INSTRUCTIONS BEFORE COMPLETING THIS FORM                                                    of the State of California
1. CORPORATE NAME
                                                                                                                       APR-19 2019
     NAITO, CORP.




2. CALIFORNIA CORPORATE NUMBER
                                                                   C4258199                                         This Space for Filing Use Only

No Change Statement (Not applicable if agent address of record is a P.O. Box address. See instructions.)
3.    If there have been any changes to the information contained in the last Statement of Information filed with the California Secretary
      of State, or no statement of information has been previously filed, this form must be completed in its entirety.
            If there has been no change in any of the information contained in the last Statement of Information filed with the California Secretary
            of State, check the box and proceed to Item 13.

Complete Addresses for the Following (Do not abbreviate the name of the city. Items 4 and 5 cannot be P.O. Boxes.)
4.    STREET ADDRESS OF PRINCIPAL EXECUTIVE OFFICE                                                CITY                       STATE       ZIP CODE
2780 SOUTH JONES BOULEVARD SUITE 200-3132, LAS VEGAS, NV 89146
5.    STREET ADDRESS OF PRINCIPAL BUSINESS OFFICE IN CALIFORNIA, IF ANY                           CITY                       STATE       ZIP CODE


6.    MAILING ADDRESS OF THE CORPORATION, IF DIFFERENT THAN ITEM 4                                CITY                       STATE       ZIP CODE



6.    EMAIL ADDRESS FOR RECEIVING STATUTORY NOTIFICATIONS



Names and Complete Addresses of the Following Officers (The corporation must list these three officers. A comparable title for the specific
officer may be added; however, the preprinted titles on this form must not be altered.)
7.    CHIEF EXECUTIVE OFFICER/                ADDRESS                                             CITY                       STATE       ZIP CODE
 TAKEHISA NAITO           2780 SOUTH JONES BOULEVARD SUITE 200-3132, LAS VEGAS, NV 89109
8.    SECRETARY                               ADDRESS                                             CITY                       STATE       ZIP CODE
KEISHI IKEDA           2780 SOUTH JONES BOULEVARD SUITE 200-3133, LAS VEGAS, NV 89146
9.    CHIEF FINANCIAL OFFICER/                ADDRESS                                             CITY                       STATE       ZIP CODE
KEISHI IKEDA           2780 SOUTH JONES BOULEVARD SUITE 200-3133, LAS VEGAS, NV 89146
Agent for Service of Process If the agent is an individual, the agent must reside in California and Item 11 must be completed with a California street
address, a P.O. Box address is not acceptable. If the agent is another corporation, the agent must have on file with the California Secretary of State a
certificate pursuant to California Corporations Code section 1505 and Item 11 must be left blank.
10. NAME OF AGENT FOR SERVICE OF PROCESS

 BUSINESS FILINGS INCORPORATED
11. STREET ADDRESS OF AGENT FOR SERVICE OF PROCESS IN CALIFORNIA, IF AN INDIVIDUAL CITY                                      STATE       ZIP CODE



Type of Business
12. DESCRIBE THE TYPE OF BUSINESS OF THE CORPORATION
BUSINESS CONSULTING
13. THE INFORMATION CONTAINED HEREIN IS TRUE AND CORRECT.

 04/19/2019            TAKEHISA NAITO                                           PRESIDENT
      DATE               TYPE/PRINT NAME OF PERSON COMPLETING FORM                        TITLE                           SIGNATURE
SI-350 (REV 01/2013)                                                                                                 APPROVED BY SECRETARY OF STATE

                                                                                                                                PX19 - 110
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                                                                                                         F
                              State of California
                                  Secretary of State
                              Statement of Information                                                                   GC31551
                                      (Foreign Corporation)
                            FEES (Filing and Disclosure): $25.00.                                                          FILED
                         If this is an amendment, see instructions.                                          In the office of the Secretary of State
       IMPORTANT – READ INSTRUCTIONS BEFORE COMPLETING THIS FORM                                                    of the State of California
1. CORPORATE NAME
                                                                                                                       JAN-17 2020
     NAITO, CORP.




2. CALIFORNIA CORPORATE NUMBER
                                                                   C4258199                                         This Space for Filing Use Only

No Change Statement (Not applicable if agent address of record is a P.O. Box address. See instructions.)
3.    If there have been any changes to the information contained in the last Statement of Information filed with the California Secretary
      of State, or no statement of information has been previously filed, this form must be completed in its entirety.
            If there has been no change in any of the information contained in the last Statement of Information filed with the California Secretary
            of State, check the box and proceed to Item 13.

Complete Addresses for the Following (Do not abbreviate the name of the city. Items 4 and 5 cannot be P.O. Boxes.)
4.    STREET ADDRESS OF PRINCIPAL EXECUTIVE OFFICE                                                CITY                       STATE       ZIP CODE
2780 SOUTH JONES BOULEVARD, STE 200-3132, LAS VEGAS, NV 89109
5.    STREET ADDRESS OF PRINCIPAL BUSINESS OFFICE IN CALIFORNIA, IF ANY                           CITY                       STATE       ZIP CODE


6.    MAILING ADDRESS OF THE CORPORATION, IF DIFFERENT THAN ITEM 4                                CITY                       STATE       ZIP CODE



6.    EMAIL ADDRESS FOR RECEIVING STATUTORY NOTIFICATIONS



Names and Complete Addresses of the Following Officers (The corporation must list these three officers. A comparable title for the specific
officer may be added; however, the preprinted titles on this form must not be altered.)
7.    CHIEF EXECUTIVE OFFICER/                ADDRESS                                             CITY                       STATE       ZIP CODE
 TAKEHISA NAITO           2780 SOUTH JONES BOULEVARD, STE 200-3132, LAS VEGAS, NV 89109
8.    SECRETARY                               ADDRESS                                             CITY                       STATE       ZIP CODE
KEISHI IKEDA           2780 SOUTH JONES BOULEVARD, STE 200-3132, LAS VEGAS, NV 89109
9.    CHIEF FINANCIAL OFFICER/                ADDRESS                                             CITY                       STATE       ZIP CODE
KEISHI IKEDA           2780 SOUTH JONES BOULEVARD, STE 200-3132, LAS VEGAS, NV 89109
Agent for Service of Process If the agent is an individual, the agent must reside in California and Item 11 must be completed with a California street
address, a P.O. Box address is not acceptable. If the agent is another corporation, the agent must have on file with the California Secretary of State a
certificate pursuant to California Corporations Code section 1505 and Item 11 must be left blank.
10. NAME OF AGENT FOR SERVICE OF PROCESS

 BUSINESS FILINGS INCORPORATED WHICH WILL DO BUSINESS IN CALIFORNIA AS DELAWARE BUSINESS FILINGS INCORPORATED
11. STREET ADDRESS OF AGENT FOR SERVICE OF PROCESS IN CALIFORNIA, IF AN INDIVIDUAL CITY                                      STATE       ZIP CODE



Type of Business
12. DESCRIBE THE TYPE OF BUSINESS OF THE CORPORATION
BUSINESS CONSULTING
13. THE INFORMATION CONTAINED HEREIN IS TRUE AND CORRECT.

 01/17/2020            TAKEHISA NAITO                                           PRESIDENT
      DATE               TYPE/PRINT NAME OF PERSON COMPLETING FORM                        TITLE                           SIGNATURE
SI-350 (REV 01/2013)                                                                                                 APPROVED BY SECRETARY OF STATE

                                                                                                                                PX19 - 111
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        ATTACHMENT E




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                                                 Filed in the Office of   Business Number
                                                                          E0608412014-3
                                                                          Filing Number
                                                                          20150521999-33
                                                 Secretary                Filed On
                                                 State Of Nevada          11/30/2015
                                                                          Number of Pages
                                                                          1




                                                                           PX19 - 116
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                                                 Filed in the Office of   Business Number
                                                                          E0608412014-3
                                                                          Filing Number
                                                                          20160500103-98
                                                 Secretary                Filed On
                                                 State Of Nevada          11/16/2016
                                                                          Number of Pages
                                                                          1




                                                                           PX19 - 117
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                                                 Filed in the Office of   Business Number
                                                                          E0608412014-3
                                                                          Filing Number
                                                                          20170199622-89
                                                 Secretary                Filed On
                                                 State Of Nevada          05/05/2017
                                                                          Number of Pages
                                                                          1




                                                                           PX19 - 118
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                                                 Filed in the Office of   Business Number
                                                                          E0608412014-3
                                                                          Filing Number
                                                                          20170432025-16
                                                 Secretary                Filed On
                                                 State Of Nevada          10/11/2017
                                                                          Number of Pages
                                                                          1




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                                                 Filed in the Office of   Business Number
                                                                          E0608412014-3
                                                                          Filing Number
                                                                          20180431714-51
                                                 Secretary                Filed On
                                                 State Of Nevada          10/02/2018
                                                                          Number of Pages
                                                                          1




                                                                           PX19 - 120
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                               State of California
                                   Secretary of State
                               Statement of Information                                                                          FN37401
                                       (Foreign Corporation)
                            FEES (Filing and Disclosure): $25.00.                                                                  FILED
                         If this is an amendment, see instructions.                                                In the office of the Secretary of State
       IMPORTANT – READ INSTRUCTIONS BEFORE COMPLETING THIS FORM                                                          of the State of California
1. CORPORATE NAME
                                                                                                                                JUN-20 2017
     LEAD EXPRESS, INC.




2. CALIFORNIA CORPORATE NUMBER
                                                                    C3606656                                                This Space for Filing Use Only

No Change Statement (Not applicable if agent address of record is a P.O. Box address. See instructions.)
3.    If there have been any changes to the information contained in the last Statement of Information filed with the California Secretary
      of State, or no statement of information has been previously filed, this form must be completed in its entirety.
            If there has been no change in any of the information contained in the last Statement of Information filed with the California Secretary
            of State, check the box and proceed to Item 13.

Complete Addresses for the Following (Do not abbreviate the name of the city. Items 4 and 5 cannot be P.O. Boxes.)
4.    STREET ADDRESS OF PRINCIPAL EXECUTIVE OFFICE                                                  CITY                             STATE       ZIP CODE
2780 S. JONES BLVD STE. 3637, LAS VEGAS, NV 89146
5.    STREET ADDRESS OF PRINCIPAL BUSINESS OFFICE IN CALIFORNIA, IF ANY                             CITY                             STATE       ZIP CODE


6.    MAILING ADDRESS OF THE CORPORATION, IF DIFFERENT THAN ITEM 4                                  CITY                             STATE       ZIP CODE



6.    EMAIL ADDRESS FOR RECEIVING STATUTORY NOTIFICATIONS



Names and Complete Addresses of the Following Officers (The corporation must list these three officers. A comparable title for the specific
officer may be added; however, the preprinted titles on this form must not be altered.)
7.    CHIEF EXECUTIVE OFFICER/                 ADDRESS                                              CITY                             STATE       ZIP CODE
 TAKEHISA NAITO            1619 N. LA BREA AVE #614, HOLLYWOOD, CA 90028
8.    SECRETARY                                ADDRESS                                              CITY                             STATE       ZIP CODE
KEISHI IKEDA           8760 W. PATRICK LANE UNIT 2016, LAS VEGAS, NV 89148
9.    CHIEF FINANCIAL OFFICER/                 ADDRESS                                              CITY                             STATE       ZIP CODE
KEISHI IKEDA           8760 W. PATRICK LANE UNIT 2016, LAS VEGAS, NV 89148
Agent for Service of Process If the agent is an individual, the agent must reside in California and Item 11 must be completed with a California street
address, a P.O. Box address is not acceptable. If the agent is another corporation, the agent must have on file with the California Secretary of State a
certificate pursuant to California Corporations Code section 1505 and Item 11 must be left blank.
10. NAME OF AGENT FOR SERVICE OF PROCESS [Note: The person designated as the corporation's agent MUST have agreed to act in that capacity prior to the designation.]

 BUSINESS FILINGS INCORPORATED
11. STREET ADDRESS OF AGENT FOR SERVICE OF PROCESS IN CALIFORNIA, IF AN INDIVIDUAL CITY                                              STATE       ZIP CODE



Type of Business
12. DESCRIBE THE TYPE OF BUSINESS OF THE CORPORATION
BUSINESS CONSULTING
13. THE INFORMATION CONTAINED HEREIN IS TRUE AND CORRECT.

 06/20/2017            TAKEHISA NAITO                                             PRESIDENT
      DATE               TYPE/PRINT NAME OF PERSON COMPLETING FORM                          TITLE                                 SIGNATURE
SI-350 (REV 01/2013)                                                                                                         APPROVED BY SECRETARY OF STATE

                                                                                                                                        PX19 - 123
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                              State of California
                                  Secretary of State
                              Statement of Information                                                                   G588084
                                      (Foreign Corporation)
                            FEES (Filing and Disclosure): $25.00.                                                          FILED
                         If this is an amendment, see instructions.                                          In the office of the Secretary of State
       IMPORTANT – READ INSTRUCTIONS BEFORE COMPLETING THIS FORM                                                    of the State of California
1. CORPORATE NAME
                                                                                                                       APR-19 2019
     KOTOBUKI MARKETING, INC.




2. CALIFORNIA CORPORATE NUMBER
                                                                   C4258200                                         This Space for Filing Use Only

No Change Statement (Not applicable if agent address of record is a P.O. Box address. See instructions.)
3.    If there have been any changes to the information contained in the last Statement of Information filed with the California Secretary
      of State, or no statement of information has been previously filed, this form must be completed in its entirety.
            If there has been no change in any of the information contained in the last Statement of Information filed with the California Secretary
            of State, check the box and proceed to Item 13.

Complete Addresses for the Following (Do not abbreviate the name of the city. Items 4 and 5 cannot be P.O. Boxes.)
4.    STREET ADDRESS OF PRINCIPAL EXECUTIVE OFFICE                                                CITY                       STATE       ZIP CODE
2780 S. JONES BLVD. SUITE 200-3827, LAS VEGAS, NV 89146
5.    STREET ADDRESS OF PRINCIPAL BUSINESS OFFICE IN CALIFORNIA, IF ANY                           CITY                       STATE       ZIP CODE


6.    MAILING ADDRESS OF THE CORPORATION, IF DIFFERENT THAN ITEM 4                                CITY                       STATE       ZIP CODE



6.    EMAIL ADDRESS FOR RECEIVING STATUTORY NOTIFICATIONS



Names and Complete Addresses of the Following Officers (The corporation must list these three officers. A comparable title for the specific
officer may be added; however, the preprinted titles on this form must not be altered.)
7.    CHIEF EXECUTIVE OFFICER/                ADDRESS                                             CITY                       STATE       ZIP CODE
 TAKEHISA NAITO           2780 SOUTH JONES BLVD. SUITE 200-3132, LAS VEGAS, NV 89146
8.    SECRETARY                               ADDRESS                                             CITY                       STATE       ZIP CODE
KEISHI IKEDA           2780 SOUTH JONES BLVD., SUITE 200-3133, LAS VEGAS, NV 89146
9.    CHIEF FINANCIAL OFFICER/                ADDRESS                                             CITY                       STATE       ZIP CODE
KEISHI IKEDA           2780 SOUTH JONES BLVD., SUITE 200-3133, LAS VEGAS, NV 89146
Agent for Service of Process If the agent is an individual, the agent must reside in California and Item 11 must be completed with a California street
address, a P.O. Box address is not acceptable. If the agent is another corporation, the agent must have on file with the California Secretary of State a
certificate pursuant to California Corporations Code section 1505 and Item 11 must be left blank.
10. NAME OF AGENT FOR SERVICE OF PROCESS

 BUSINESS FILINGS INCORPORATED
11. STREET ADDRESS OF AGENT FOR SERVICE OF PROCESS IN CALIFORNIA, IF AN INDIVIDUAL CITY                                      STATE       ZIP CODE



Type of Business
12. DESCRIBE THE TYPE OF BUSINESS OF THE CORPORATION
CUSTOMER SERVICE CALL CENTER
13. THE INFORMATION CONTAINED HEREIN IS TRUE AND CORRECT.

 04/19/2019            TAKEHISA NAITO                                           PRESIDENT
      DATE               TYPE/PRINT NAME OF PERSON COMPLETING FORM                        TITLE                           SIGNATURE
SI-350 (REV 01/2013)                                                                                                 APPROVED BY SECRETARY OF STATE

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                              State of California
                                  Secretary of State
                              Statement of Information                                                                   GC32918
                                      (Foreign Corporation)
                            FEES (Filing and Disclosure): $25.00.                                                          FILED
                         If this is an amendment, see instructions.                                          In the office of the Secretary of State
       IMPORTANT – READ INSTRUCTIONS BEFORE COMPLETING THIS FORM                                                    of the State of California
1. CORPORATE NAME
                                                                                                                       JAN-17 2020
     KOTOBUKI MARKETING, INC.




2. CALIFORNIA CORPORATE NUMBER
                                                                   C4258200                                         This Space for Filing Use Only

No Change Statement (Not applicable if agent address of record is a P.O. Box address. See instructions.)
3.    If there have been any changes to the information contained in the last Statement of Information filed with the California Secretary
      of State, or no statement of information has been previously filed, this form must be completed in its entirety.
            If there has been no change in any of the information contained in the last Statement of Information filed with the California Secretary
            of State, check the box and proceed to Item 13.

Complete Addresses for the Following (Do not abbreviate the name of the city. Items 4 and 5 cannot be P.O. Boxes.)
4.    STREET ADDRESS OF PRINCIPAL EXECUTIVE OFFICE                                                CITY                       STATE       ZIP CODE
101 CONVENTION CENTER DRIVE STE 500, LAS VEGAS, NV 89109
5.    STREET ADDRESS OF PRINCIPAL BUSINESS OFFICE IN CALIFORNIA, IF ANY                           CITY                       STATE       ZIP CODE


6.    MAILING ADDRESS OF THE CORPORATION, IF DIFFERENT THAN ITEM 4                                CITY                       STATE       ZIP CODE



6.    EMAIL ADDRESS FOR RECEIVING STATUTORY NOTIFICATIONS



Names and Complete Addresses of the Following Officers (The corporation must list these three officers. A comparable title for the specific
officer may be added; however, the preprinted titles on this form must not be altered.)
7.    CHIEF EXECUTIVE OFFICER/                ADDRESS                                             CITY                       STATE       ZIP CODE
 TAKEHISA NAITO           2780 SOUTH JONES BLVD. SUITE 200-3132, LAS VEGAS, NV 89146
8.    SECRETARY                               ADDRESS                                             CITY                       STATE       ZIP CODE
KEISHI IKEDA           2780 SOUTH JONES BLVD. SUITE 200-3132, LAS VEGAS, NV 89146
9.    CHIEF FINANCIAL OFFICER/                ADDRESS                                             CITY                       STATE       ZIP CODE
KEISHI IKEDA           2780 SOUTH JONES BLVD. SUITE 200-3132, LAS VEGAS, NV 89146
Agent for Service of Process If the agent is an individual, the agent must reside in California and Item 11 must be completed with a California street
address, a P.O. Box address is not acceptable. If the agent is another corporation, the agent must have on file with the California Secretary of State a
certificate pursuant to California Corporations Code section 1505 and Item 11 must be left blank.
10. NAME OF AGENT FOR SERVICE OF PROCESS

 BUSINESS FILINGS INCORPORATED WHICH WILL DO BUSINESS IN CALIFORNIA AS DELAWARE BUSINESS FILINGS INCORPORATED
11. STREET ADDRESS OF AGENT FOR SERVICE OF PROCESS IN CALIFORNIA, IF AN INDIVIDUAL CITY                                      STATE       ZIP CODE



Type of Business
12. DESCRIBE THE TYPE OF BUSINESS OF THE CORPORATION
CUSTOMER SERVICE CALL CENTER
13. THE INFORMATION CONTAINED HEREIN IS TRUE AND CORRECT.

 01/17/2020            TAKEHISA NAITO                                           PRESIDENT
      DATE               TYPE/PRINT NAME OF PERSON COMPLETING FORM                        TITLE                           SIGNATURE
SI-350 (REV 01/2013)                                                                                                 APPROVED BY SECRETARY OF STATE

                                                                                                                                PX19 - 127
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2/26/2020                                            BL Search
                 Case 2:20-cv-00840-JAD-NJK Document 3-6   Filed 05/11/20 Page 130 of 149
   Clark County / Business License / BL Search


                Business License


                                    Business License Detail Information

      License Number:                           2003119.056-101

      MJBL Number:

                                                Kotobuki Marketing, Inc.
                                                Suite 500
      Business:
                                                101 Convention Center Dr
                                                Las Vegas, NV 89109

      Business Telephone:                       (213) 503-6707

      License Category:                         Admin & Support Services - Group 1

      Status:                                   Licensed

      Date of License:                          04/18/2017

      Out of Business Date:

                                                              Business Owner(s)

      Ikeda, Keishi
      Naito, Takehisa


                                                      Return to Previous Page
                                         Return to Business License Database Search Options




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https://www.clarkcountynv.gov/business-license/Pages/BLSearch.aspx                                         1/2
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        ATTACHMENT F




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                                 State of California                                                  S
                                    Secretary of State
                              Statement of Information                                                                          FN37401
              (Domestic Stock and Agricultural Cooperative Corporations)
                            FEES (Filing and Disclosure): $25.00.
                         If this is an amendment, see instructions.                                                             FILED
       IMPORTANT – READ INSTRUCTIONS BEFORE COMPLETING THIS FORM                                                  In the office of the Secretary of State
1. CORPORATE NAME                                                                                                        of the State of California
LEAD EXPRESS, INC.

                                                                                                                               JUN-20 2017


2. CALIFORNIA CORPORATE NUMBER
                                                C3606656                                                                  This Space for Filing Use Only

No Change Statement (Not applicable if agent address of record is a P.O. Box address. See instructions.)
3.    If there have been any changes to the information contained in the last Statement of Information filed with the California Secretary
      of State, or no statement of information has been previously filed, this form must be completed in its entirety.
            If there has been no change in any of the information contained in the last Statement of Information filed with the California Secretary
            of State, check the box and proceed to Item 17.

Complete Addresses for the Following (Do not abbreviate the name of the city. Items 4 and 5 cannot be P.O. Boxes.)
4.    STREET ADDRESS OF PRINCIPAL EXECUTIVE OFFICE                                                CITY                            STATE        ZIP CODE
2780 S. JONES BLVD STE. 3637, LAS VEGAS, NV 89146
5.    STREET ADDRESS OF PRINCIPAL BUSINESS OFFICE IN CALIFORNIA, IF ANY                           CITY                            STATE        ZIP CODE
1930 WILSHIRE BLVD SUITE 400, LOS ANGELES, CA 90057
6.    MAILING ADDRESS OF CORPORATION, IF DIFFERENT THAN ITEM 4                                    CITY                            STATE        ZIP CODE


7.    EMAIL ADDRESS FOR RECEIVING STATUTORY NOTIFICATIONS


Names and Complete Addresses of the Following Officers (The corporation must list these three officers. A comparable title for the specific
officer may be added; however, the preprinted titles on this form must not be altered.)
7.    CHIEF EXECUTIVE OFFICER/                 ADDRESS                                            CITY                            STATE        ZIP CODE
     TAKEHISA NAITO         1619 N. LA BREA AVE #614, HOLLYWOOD, CA 90028
8.    SECRETARY                                ADDRESS                                            CITY                            STATE        ZIP CODE
     KEISHI IKEDA       8760 W. PATRICK LANE UNIT 2016, LAS VEGAS, NV 89148
9.    CHIEF FINANCIAL OFFICER/                 ADDRESS                                            CITY                            STATE        ZIP CODE
     KEISHI IKEDA       8760 W. PATRICK LANE UNIT 2016, LAS VEGAS, NV 89148
Names and Complete Addresses of All Directors, Including Directors Who are Also Officers (The corporation must have at least one
director. Attach additional pages, if necessary.)
10. NAME                                       ADDRESS                                            CITY                            STATE        ZIP CODE
 TAKEHISA NAITO            1619 N. LA BREA AVE #614, HOLLYWOOD, CA 90028
11. NAME                                       ADDRESS                                            CITY                            STATE        ZIP CODE


12. NAME                                       ADDRESS                                            CITY                            STATE        ZIP CODE


13. NUMBER OF VACANCIES ON THE BOARD OF DIRECTORS, IF ANY:
Agent for Service of Process If the agent is an individual, the agent must reside in California and Item 15 must be completed with a California street
address, a P.O. Box address is not acceptable. If the agent is another corporation, the agent must have on file with the California Secretary of State a
certificate pursuant to California Corporations Code section 1505 and Item 15 must be left blank.
14. NAME OF AGENT FOR SERVICE OF PROCESS [Note: The person designated as the corporation's agent MUST have agreed to act in that capacity prior to the designation.]
 BUSINESS FILINGS INCORPORATED
15. STREET ADDRESS OF AGENT FOR SERVICE OF PROCESS IN CALIFORNIA, IF AN INDIVIDUAL CITY                                           STATE        ZIP CODE


Type of Business
16. DESCRIBE THE TYPE OF BUSINESS OF THE CORPORATION
 BUSINESS CONSULTING
17. BY SUBMITTING THIS STATEMENT OF INFORMATION TO THE CALIFORNIA SECRETARY OF STATE, THE CORPORATION CERTIFIES THE INFORMATION
    CONTAINED HEREIN, INCLUDING ANY ATTACHMENTS, IS TRUE AND CORRECT.
06/20/2017             TAKEHISA NAITO                                              PRESIDENT
     DATE                TYPE/PRINT NAME OF PERSON COMPLETING FORM                           TITLE
                                                                                                                                       PX19 - 137
                                                                                                                                  SIGNATURE
SI-200 (REV 01/2013)                                                     Page 1 of 1                                       APPROVED BY SECRETARY OF STATE
                  Case 2:20-cv-00840-JAD-NJK Document 3-6 Filed 05/11/20 Page 139 of 149

                                 State of California                                             S
                                    Secretary of State
                              Statement of Information                                                                  GC32906
              (Domestic Stock and Agricultural Cooperative Corporations)
                            FEES (Filing and Disclosure): $25.00.
                         If this is an amendment, see instructions.
                                                                                                                        FILED
       IMPORTANT – READ INSTRUCTIONS BEFORE COMPLETING THIS FORM                                           In the office of the Secretary of State
1. CORPORATE NAME                                                                                                 of the State of California
EBISU MARKETING, CORP.

                                                                                                                       JAN-17 2020


2. CALIFORNIA CORPORATE NUMBER
                                               C3277399                                                            This Space for Filing Use Only

No Change Statement (Not applicable if agent address of record is a P.O. Box address. See instructions.)
3.    If there have been any changes to the information contained in the last Statement of Information filed with the California Secretary
      of State, or no statement of information has been previously filed, this form must be completed in its entirety.
            If there has been no change in any of the information contained in the last Statement of Information filed with the California Secretary
            of State, check the box and proceed to Item 17.

Complete Addresses for the Following (Do not abbreviate the name of the city. Items 4 and 5 cannot be P.O. Boxes.)
4.    STREET ADDRESS OF PRINCIPAL EXECUTIVE OFFICE                                          CITY                           STATE        ZIP CODE
1930 WILSHIRE BLVD SUITE 400, LOS ANGELES, CA 90057
5.    STREET ADDRESS OF PRINCIPAL BUSINESS OFFICE IN CALIFORNIA, IF ANY                     CITY                           STATE        ZIP CODE
1930 WILSHIRE BLVD SUITE 400, LOS ANGELES, CA 90057
6.    MAILING ADDRESS OF CORPORATION, IF DIFFERENT THAN ITEM 4                              CITY                           STATE        ZIP CODE


7.    EMAIL ADDRESS FOR RECEIVING STATUTORY NOTIFICATIONS


Names and Complete Addresses of the Following Officers (The corporation must list these three officers. A comparable title for the specific
officer may be added; however, the preprinted titles on this form must not be altered.)
7.    CHIEF EXECUTIVE OFFICER/                ADDRESS                                       CITY                           STATE        ZIP CODE
     TAKEHISA NAITO         1930 WILSHIRE BLVD SUITE 400, LOS ANGELES, CA 90057
8.    SECRETARY                               ADDRESS                                       CITY                           STATE        ZIP CODE
     TAKEHISA NAITO         1930 WILSHIRE BLVD SUITE 400, LOS ANGELES, CA 90057
9.    CHIEF FINANCIAL OFFICER/                ADDRESS                                       CITY                           STATE        ZIP CODE
     TAKEHISA NAITO         1930 WILSHIRE BLVD SUITE 400, LOS ANGELES, CA 90057
Names and Complete Addresses of All Directors, Including Directors Who are Also Officers (The corporation must have at least one
director. Attach additional pages, if necessary.)
10. NAME                                      ADDRESS                                       CITY                           STATE        ZIP CODE
 TAKEHISA NAITO            1930 WILSHIRE BLVD SUITE 400, LOS ANGELES, CA 90057
11. NAME                                      ADDRESS                                       CITY                           STATE        ZIP CODE


12. NAME                                      ADDRESS                                       CITY                           STATE        ZIP CODE


13. NUMBER OF VACANCIES ON THE BOARD OF DIRECTORS, IF ANY:
Agent for Service of Process If the agent is an individual, the agent must reside in California and Item 15 must be completed with a California street
address, a P.O. Box address is not acceptable. If the agent is another corporation, the agent must have on file with the California Secretary of State a
certificate pursuant to California Corporations Code section 1505 and Item 15 must be left blank.
14. NAME OF AGENT FOR SERVICE OF PROCESS
 BUSINESS FILINGS INCORPORATED WHICH WILL DO BUSINESS IN CALIFORNIA AS DELAWARE BUSINESS FILINGS INCORPORATED
15. STREET ADDRESS OF AGENT FOR SERVICE OF PROCESS IN CALIFORNIA, IF AN INDIVIDUAL CITY                                    STATE        ZIP CODE


Type of Business
16. DESCRIBE THE TYPE OF BUSINESS OF THE CORPORATION
 CUSTOMER SERVICE
17. BY SUBMITTING THIS STATEMENT OF INFORMATION TO THE CALIFORNIA SECRETARY OF STATE, THE CORPORATION CERTIFIES THE INFORMATION
    CONTAINED HEREIN, INCLUDING ANY ATTACHMENTS, IS TRUE AND CORRECT.
01/17/2020             TAKEHISA NAITO                                         PRESIDENT
     DATE                TYPE/PRINT NAME OF PERSON COMPLETING FORM                      TITLE
                                                                                                                                PX19 - 138
                                                                                                                           SIGNATURE
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        ATTACHMENT G




                                                                PX19 - 139
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                                                                PX19 - 140
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                                 State of California                                                  S
                                    Secretary of State
                              Statement of Information                                                                          FN37401
              (Domestic Stock and Agricultural Cooperative Corporations)
                            FEES (Filing and Disclosure): $25.00.
                         If this is an amendment, see instructions.                                                             FILED
       IMPORTANT – READ INSTRUCTIONS BEFORE COMPLETING THIS FORM                                                  In the office of the Secretary of State
1. CORPORATE NAME                                                                                                        of the State of California
LEAD EXPRESS, INC.

                                                                                                                               JUN-20 2017


2. CALIFORNIA CORPORATE NUMBER
                                                C3606656                                                                  This Space for Filing Use Only

No Change Statement (Not applicable if agent address of record is a P.O. Box address. See instructions.)
3.    If there have been any changes to the information contained in the last Statement of Information filed with the California Secretary
      of State, or no statement of information has been previously filed, this form must be completed in its entirety.
            If there has been no change in any of the information contained in the last Statement of Information filed with the California Secretary
            of State, check the box and proceed to Item 17.

Complete Addresses for the Following (Do not abbreviate the name of the city. Items 4 and 5 cannot be P.O. Boxes.)
4.    STREET ADDRESS OF PRINCIPAL EXECUTIVE OFFICE                                                CITY                            STATE        ZIP CODE
2780 S. JONES BLVD STE. 3637, LAS VEGAS, NV 89146
5.    STREET ADDRESS OF PRINCIPAL BUSINESS OFFICE IN CALIFORNIA, IF ANY                           CITY                            STATE        ZIP CODE
1930 WILSHIRE BLVD SUITE 400, LOS ANGELES, CA 90057
6.    MAILING ADDRESS OF CORPORATION, IF DIFFERENT THAN ITEM 4                                    CITY                            STATE        ZIP CODE


7.    EMAIL ADDRESS FOR RECEIVING STATUTORY NOTIFICATIONS


Names and Complete Addresses of the Following Officers (The corporation must list these three officers. A comparable title for the specific
officer may be added; however, the preprinted titles on this form must not be altered.)
7.    CHIEF EXECUTIVE OFFICER/                 ADDRESS                                            CITY                            STATE        ZIP CODE
     TAKEHISA NAITO         1619 N. LA BREA AVE #614, HOLLYWOOD, CA 90028
8.    SECRETARY                                ADDRESS                                            CITY                            STATE        ZIP CODE
     KEISHI IKEDA       8760 W. PATRICK LANE UNIT 2016, LAS VEGAS, NV 89148
9.    CHIEF FINANCIAL OFFICER/                 ADDRESS                                            CITY                            STATE        ZIP CODE
     KEISHI IKEDA       8760 W. PATRICK LANE UNIT 2016, LAS VEGAS, NV 89148
Names and Complete Addresses of All Directors, Including Directors Who are Also Officers (The corporation must have at least one
director. Attach additional pages, if necessary.)
10. NAME                                       ADDRESS                                            CITY                            STATE        ZIP CODE
 TAKEHISA NAITO            1619 N. LA BREA AVE #614, HOLLYWOOD, CA 90028
11. NAME                                       ADDRESS                                            CITY                            STATE        ZIP CODE


12. NAME                                       ADDRESS                                            CITY                            STATE        ZIP CODE


13. NUMBER OF VACANCIES ON THE BOARD OF DIRECTORS, IF ANY:
Agent for Service of Process If the agent is an individual, the agent must reside in California and Item 15 must be completed with a California street
address, a P.O. Box address is not acceptable. If the agent is another corporation, the agent must have on file with the California Secretary of State a
certificate pursuant to California Corporations Code section 1505 and Item 15 must be left blank.
14. NAME OF AGENT FOR SERVICE OF PROCESS [Note: The person designated as the corporation's agent MUST have agreed to act in that capacity prior to the designation.]
 BUSINESS FILINGS INCORPORATED
15. STREET ADDRESS OF AGENT FOR SERVICE OF PROCESS IN CALIFORNIA, IF AN INDIVIDUAL CITY                                           STATE        ZIP CODE


Type of Business
16. DESCRIBE THE TYPE OF BUSINESS OF THE CORPORATION
 BUSINESS CONSULTING
17. BY SUBMITTING THIS STATEMENT OF INFORMATION TO THE CALIFORNIA SECRETARY OF STATE, THE CORPORATION CERTIFIES THE INFORMATION
    CONTAINED HEREIN, INCLUDING ANY ATTACHMENTS, IS TRUE AND CORRECT.
06/20/2017             TAKEHISA NAITO                                              PRESIDENT
     DATE                TYPE/PRINT NAME OF PERSON COMPLETING FORM                           TITLE
                                                                                                                                       PX19 - 141
                                                                                                                                  SIGNATURE
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                                 State of California                                              S
                                    Secretary of State
                              Statement of Information                                                                  G307216
              (Domestic Stock and Agricultural Cooperative Corporations)
                            FEES (Filing and Disclosure): $25.00.
                         If this is an amendment, see instructions.
                                                                                                                        FILED
       IMPORTANT – READ INSTRUCTIONS BEFORE COMPLETING THIS FORM                                           In the office of the Secretary of State
1. CORPORATE NAME                                                                                                 of the State of California
HOTEI MARKETING, INC.

                                                                                                                       JAN-10 2019


2. CALIFORNIA CORPORATE NUMBER
                                               C3541552                                                            This Space for Filing Use Only

No Change Statement (Not applicable if agent address of record is a P.O. Box address. See instructions.)
3.    If there have been any changes to the information contained in the last Statement of Information filed with the California Secretary
      of State, or no statement of information has been previously filed, this form must be completed in its entirety.
            If there has been no change in any of the information contained in the last Statement of Information filed with the California Secretary
            of State, check the box and proceed to Item 17.

Complete Addresses for the Following (Do not abbreviate the name of the city. Items 4 and 5 cannot be P.O. Boxes.)
4.    STREET ADDRESS OF PRINCIPAL EXECUTIVE OFFICE                                            CITY                         STATE        ZIP CODE
1930 WILSHIRE BLVD SUITE 400, LOS ANGELES, CA 90057
5.    STREET ADDRESS OF PRINCIPAL BUSINESS OFFICE IN CALIFORNIA, IF ANY                       CITY                         STATE        ZIP CODE
1930 WILSHIRE BLVD SUITE 400, LOS ANGELES, CA 90057
6.    MAILING ADDRESS OF CORPORATION, IF DIFFERENT THAN ITEM 4                                CITY                         STATE        ZIP CODE


7.    EMAIL ADDRESS FOR RECEIVING STATUTORY NOTIFICATIONS


Names and Complete Addresses of the Following Officers (The corporation must list these three officers. A comparable title for the specific
officer may be added; however, the preprinted titles on this form must not be altered.)
7.    CHIEF EXECUTIVE OFFICER/                ADDRESS                                         CITY                         STATE        ZIP CODE
 TAKEHISA NAITO             1619 N. LA BREA AVE. #614, HOLLYWOOD, CA 90028
8.    SECRETARY                               ADDRESS                                         CITY                         STATE        ZIP CODE
 KEISHI IKEDA           8760 W. PATRICK LANE UNIT 2016, LAS VEGAS, NV 89148
9.    CHIEF FINANCIAL OFFICER/                ADDRESS                                         CITY                         STATE        ZIP CODE
     KEISHI IKEDA       8760 W. PATRICK LANE UNIT 2016, LAS VEGAS, NV 89148
Names and Complete Addresses of All Directors, Including Directors Who are Also Officers (The corporation must have at least one
director. Attach additional pages, if necessary.)
10. NAME                                      ADDRESS                                         CITY                         STATE        ZIP CODE
 TAKEHISA NAITO            1619 N. LA BREA AVE. #614, HOLLYWOOD, CA 90028
11. NAME                                      ADDRESS                                         CITY                         STATE        ZIP CODE


12. NAME                                      ADDRESS                                         CITY                         STATE        ZIP CODE


13. NUMBER OF VACANCIES ON THE BOARD OF DIRECTORS, IF ANY:
Agent for Service of Process If the agent is an individual, the agent must reside in California and Item 15 must be completed with a California street
address, a P.O. Box address is not acceptable. If the agent is another corporation, the agent must have on file with the California Secretary of State a
certificate pursuant to California Corporations Code section 1505 and Item 15 must be left blank.
14. NAME OF AGENT FOR SERVICE OF PROCESS
 BUSINESS FILINGS INCORPORATED
15. STREET ADDRESS OF AGENT FOR SERVICE OF PROCESS IN CALIFORNIA, IF AN INDIVIDUAL CITY                                    STATE        ZIP CODE


Type of Business
16. DESCRIBE THE TYPE OF BUSINESS OF THE CORPORATION
MARKETING
17. BY SUBMITTING THIS STATEMENT OF INFORMATION TO THE CALIFORNIA SECRETARY OF STATE, THE CORPORATION CERTIFIES THE INFORMATION
    CONTAINED HEREIN, INCLUDING ANY ATTACHMENTS, IS TRUE AND CORRECT.
01/10/2019             TAKEHISA NAITO                                            PRESIDENT
     DATE                TYPE/PRINT NAME OF PERSON COMPLETING FORM                        TITLE                            SIGNATURE
                                                                                                                                PX19 - 142
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                                 State of California                                             S
                                    Secretary of State
                              Statement of Information                                                                  GC31950
              (Domestic Stock and Agricultural Cooperative Corporations)
                            FEES (Filing and Disclosure): $25.00.
                         If this is an amendment, see instructions.
                                                                                                                        FILED
       IMPORTANT – READ INSTRUCTIONS BEFORE COMPLETING THIS FORM                                           In the office of the Secretary of State
1. CORPORATE NAME                                                                                                 of the State of California
HOTEI MARKETING, INC.

                                                                                                                       JAN-17 2020


2. CALIFORNIA CORPORATE NUMBER
                                               C3541552                                                            This Space for Filing Use Only

No Change Statement (Not applicable if agent address of record is a P.O. Box address. See instructions.)
3.    If there have been any changes to the information contained in the last Statement of Information filed with the California Secretary
      of State, or no statement of information has been previously filed, this form must be completed in its entirety.
            If there has been no change in any of the information contained in the last Statement of Information filed with the California Secretary
            of State, check the box and proceed to Item 17.

Complete Addresses for the Following (Do not abbreviate the name of the city. Items 4 and 5 cannot be P.O. Boxes.)
4.    STREET ADDRESS OF PRINCIPAL EXECUTIVE OFFICE                                          CITY                           STATE        ZIP CODE
1930 WILSHIRE BLVD SUITE 400, LOS ANGELES, CA 90057
5.    STREET ADDRESS OF PRINCIPAL BUSINESS OFFICE IN CALIFORNIA, IF ANY                     CITY                           STATE        ZIP CODE
1930 WILSHIRE BLVD SUITE 400, LOS ANGELES, CA 90057
6.    MAILING ADDRESS OF CORPORATION, IF DIFFERENT THAN ITEM 4                              CITY                           STATE        ZIP CODE


7.    EMAIL ADDRESS FOR RECEIVING STATUTORY NOTIFICATIONS


Names and Complete Addresses of the Following Officers (The corporation must list these three officers. A comparable title for the specific
officer may be added; however, the preprinted titles on this form must not be altered.)
7.    CHIEF EXECUTIVE OFFICER/                ADDRESS                                       CITY                           STATE        ZIP CODE
     TAKEHISA NAITO         2780 SOUTH JONES BLVD. SUITE 200-3132, LAS VEGAS, NV 89146
8.    SECRETARY                               ADDRESS                                       CITY                           STATE        ZIP CODE
     KEISHI IKEDA       2780 SOUTH JONES BLVD. SUITE 200-3132, LAS VEGAS, NV 89146
9.    CHIEF FINANCIAL OFFICER/                ADDRESS                                       CITY                           STATE        ZIP CODE
     KEISHI IKEDA       2780 SOUTH JONES BLVD. SUITE 200-3132, LAS VEGAS, NV 89146
Names and Complete Addresses of All Directors, Including Directors Who are Also Officers (The corporation must have at least one
director. Attach additional pages, if necessary.)
10. NAME                                      ADDRESS                                       CITY                           STATE        ZIP CODE
 TAKEHISA NAITO            2780 SOUTH JONES BLVD. SUITE 200-3132, LAS VEGAS, NV 89146
11. NAME                                      ADDRESS                                       CITY                           STATE        ZIP CODE


12. NAME                                      ADDRESS                                       CITY                           STATE        ZIP CODE


13. NUMBER OF VACANCIES ON THE BOARD OF DIRECTORS, IF ANY:
Agent for Service of Process If the agent is an individual, the agent must reside in California and Item 15 must be completed with a California street
address, a P.O. Box address is not acceptable. If the agent is another corporation, the agent must have on file with the California Secretary of State a
certificate pursuant to California Corporations Code section 1505 and Item 15 must be left blank.
14. NAME OF AGENT FOR SERVICE OF PROCESS
 BUSINESS FILINGS INCORPORATED WHICH WILL DO BUSINESS IN CALIFORNIA AS DELAWARE BUSINESS FILINGS INCORPORATED
15. STREET ADDRESS OF AGENT FOR SERVICE OF PROCESS IN CALIFORNIA, IF AN INDIVIDUAL CITY                                    STATE        ZIP CODE


Type of Business
16. DESCRIBE THE TYPE OF BUSINESS OF THE CORPORATION
 MARKETING
17. BY SUBMITTING THIS STATEMENT OF INFORMATION TO THE CALIFORNIA SECRETARY OF STATE, THE CORPORATION CERTIFIES THE INFORMATION
    CONTAINED HEREIN, INCLUDING ANY ATTACHMENTS, IS TRUE AND CORRECT.
01/17/2020             TAKEHISA NAITO                                         PRESIDENT
     DATE                TYPE/PRINT NAME OF PERSON COMPLETING FORM                      TITLE
                                                                                                                                PX19 - 143
                                                                                                                           SIGNATURE
SI-200 (REV 01/2013)                                                 Page 1 of 1                                    APPROVED BY SECRETARY OF STATE
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        ATTACHMENT H




                                                                PX19 - 144
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                                                                PX19 - 145
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                                 State of California                                                  S
                                    Secretary of State
                              Statement of Information                                                                          FN37401
              (Domestic Stock and Agricultural Cooperative Corporations)
                            FEES (Filing and Disclosure): $25.00.
                         If this is an amendment, see instructions.                                                             FILED
       IMPORTANT – READ INSTRUCTIONS BEFORE COMPLETING THIS FORM                                                  In the office of the Secretary of State
1. CORPORATE NAME                                                                                                        of the State of California
LEAD EXPRESS, INC.

                                                                                                                               JUN-20 2017


2. CALIFORNIA CORPORATE NUMBER
                                                C3606656                                                                  This Space for Filing Use Only

No Change Statement (Not applicable if agent address of record is a P.O. Box address. See instructions.)
3.    If there have been any changes to the information contained in the last Statement of Information filed with the California Secretary
      of State, or no statement of information has been previously filed, this form must be completed in its entirety.
            If there has been no change in any of the information contained in the last Statement of Information filed with the California Secretary
            of State, check the box and proceed to Item 17.

Complete Addresses for the Following (Do not abbreviate the name of the city. Items 4 and 5 cannot be P.O. Boxes.)
4.    STREET ADDRESS OF PRINCIPAL EXECUTIVE OFFICE                                                CITY                            STATE        ZIP CODE
2780 S. JONES BLVD STE. 3637, LAS VEGAS, NV 89146
5.    STREET ADDRESS OF PRINCIPAL BUSINESS OFFICE IN CALIFORNIA, IF ANY                           CITY                            STATE        ZIP CODE
1930 WILSHIRE BLVD SUITE 400, LOS ANGELES, CA 90057
6.    MAILING ADDRESS OF CORPORATION, IF DIFFERENT THAN ITEM 4                                    CITY                            STATE        ZIP CODE


7.    EMAIL ADDRESS FOR RECEIVING STATUTORY NOTIFICATIONS


Names and Complete Addresses of the Following Officers (The corporation must list these three officers. A comparable title for the specific
officer may be added; however, the preprinted titles on this form must not be altered.)
7.    CHIEF EXECUTIVE OFFICER/                 ADDRESS                                            CITY                            STATE        ZIP CODE
     TAKEHISA NAITO         1619 N. LA BREA AVE #614, HOLLYWOOD, CA 90028
8.    SECRETARY                                ADDRESS                                            CITY                            STATE        ZIP CODE
     KEISHI IKEDA       8760 W. PATRICK LANE UNIT 2016, LAS VEGAS, NV 89148
9.    CHIEF FINANCIAL OFFICER/                 ADDRESS                                            CITY                            STATE        ZIP CODE
     KEISHI IKEDA       8760 W. PATRICK LANE UNIT 2016, LAS VEGAS, NV 89148
Names and Complete Addresses of All Directors, Including Directors Who are Also Officers (The corporation must have at least one
director. Attach additional pages, if necessary.)
10. NAME                                       ADDRESS                                            CITY                            STATE        ZIP CODE
 TAKEHISA NAITO            1619 N. LA BREA AVE #614, HOLLYWOOD, CA 90028
11. NAME                                       ADDRESS                                            CITY                            STATE        ZIP CODE


12. NAME                                       ADDRESS                                            CITY                            STATE        ZIP CODE


13. NUMBER OF VACANCIES ON THE BOARD OF DIRECTORS, IF ANY:
Agent for Service of Process If the agent is an individual, the agent must reside in California and Item 15 must be completed with a California street
address, a P.O. Box address is not acceptable. If the agent is another corporation, the agent must have on file with the California Secretary of State a
certificate pursuant to California Corporations Code section 1505 and Item 15 must be left blank.
14. NAME OF AGENT FOR SERVICE OF PROCESS [Note: The person designated as the corporation's agent MUST have agreed to act in that capacity prior to the designation.]
 BUSINESS FILINGS INCORPORATED
15. STREET ADDRESS OF AGENT FOR SERVICE OF PROCESS IN CALIFORNIA, IF AN INDIVIDUAL CITY                                           STATE        ZIP CODE


Type of Business
16. DESCRIBE THE TYPE OF BUSINESS OF THE CORPORATION
 BUSINESS CONSULTING
17. BY SUBMITTING THIS STATEMENT OF INFORMATION TO THE CALIFORNIA SECRETARY OF STATE, THE CORPORATION CERTIFIES THE INFORMATION
    CONTAINED HEREIN, INCLUDING ANY ATTACHMENTS, IS TRUE AND CORRECT.
06/20/2017             TAKEHISA NAITO                                              PRESIDENT
     DATE                TYPE/PRINT NAME OF PERSON COMPLETING FORM                           TITLE
                                                                                                                                       PX19 - 146
                                                                                                                                  SIGNATURE
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                                 State of California                                              S
                                    Secretary of State
                              Statement of Information                                                                  G440170
              (Domestic Stock and Agricultural Cooperative Corporations)
                            FEES (Filing and Disclosure): $25.00.
                         If this is an amendment, see instructions.
                                                                                                                        FILED
       IMPORTANT – READ INSTRUCTIONS BEFORE COMPLETING THIS FORM                                           In the office of the Secretary of State
1. CORPORATE NAME                                                                                                 of the State of California
DAIKOKU MARKETING, INC.

                                                                                                                       FEB-26 2019


2. CALIFORNIA CORPORATE NUMBER
                                               C3560767                                                            This Space for Filing Use Only

No Change Statement (Not applicable if agent address of record is a P.O. Box address. See instructions.)
3.    If there have been any changes to the information contained in the last Statement of Information filed with the California Secretary
      of State, or no statement of information has been previously filed, this form must be completed in its entirety.
            If there has been no change in any of the information contained in the last Statement of Information filed with the California Secretary
            of State, check the box and proceed to Item 17.

Complete Addresses for the Following (Do not abbreviate the name of the city. Items 4 and 5 cannot be P.O. Boxes.)
4.    STREET ADDRESS OF PRINCIPAL EXECUTIVE OFFICE                                            CITY                         STATE        ZIP CODE
1930 WILSHIRE BLVD SUITE 400, LOS ANGELES, CA 90057
5.    STREET ADDRESS OF PRINCIPAL BUSINESS OFFICE IN CALIFORNIA, IF ANY                       CITY                         STATE        ZIP CODE
1930 WILSHIRE BLVD SUITE 400, LOS ANGELES, CA 90057
6.    MAILING ADDRESS OF CORPORATION, IF DIFFERENT THAN ITEM 4                                CITY                         STATE        ZIP CODE


7.    EMAIL ADDRESS FOR RECEIVING STATUTORY NOTIFICATIONS


Names and Complete Addresses of the Following Officers (The corporation must list these three officers. A comparable title for the specific
officer may be added; however, the preprinted titles on this form must not be altered.)
7.    CHIEF EXECUTIVE OFFICER/                ADDRESS                                         CITY                         STATE        ZIP CODE
 TAKEHISA NAITO             2780 SOUTH JONES BLVD. SUITE 200-3132, LAS VEGAS, NV 89146
8.    SECRETARY                               ADDRESS                                         CITY                         STATE        ZIP CODE
 KEISHI IKEDA           2780 SOUTH JONES BLVD., SUITE 200-3133, LAS VEGAS, NV 89146
9.    CHIEF FINANCIAL OFFICER/                ADDRESS                                         CITY                         STATE        ZIP CODE
     KEISHI IKEDA       2780 SOUTH JONES BLVD., SUITE 200-3133, LAS VEGAS, NV 89146
Names and Complete Addresses of All Directors, Including Directors Who are Also Officers (The corporation must have at least one
director. Attach additional pages, if necessary.)
10. NAME                                      ADDRESS                                         CITY                         STATE        ZIP CODE
 TAKEHISA NAITO            2780 SOUTH JONES BLVD. SUITE 200-3132, LAS VEGAS, NV 89146
11. NAME                                      ADDRESS                                         CITY                         STATE        ZIP CODE


12. NAME                                      ADDRESS                                         CITY                         STATE        ZIP CODE


13. NUMBER OF VACANCIES ON THE BOARD OF DIRECTORS, IF ANY:
Agent for Service of Process If the agent is an individual, the agent must reside in California and Item 15 must be completed with a California street
address, a P.O. Box address is not acceptable. If the agent is another corporation, the agent must have on file with the California Secretary of State a
certificate pursuant to California Corporations Code section 1505 and Item 15 must be left blank.
14. NAME OF AGENT FOR SERVICE OF PROCESS
 BUSINESS FILINGS INCORPORATED
15. STREET ADDRESS OF AGENT FOR SERVICE OF PROCESS IN CALIFORNIA, IF AN INDIVIDUAL CITY                                    STATE        ZIP CODE


Type of Business
16. DESCRIBE THE TYPE OF BUSINESS OF THE CORPORATION
MARKETING
17. BY SUBMITTING THIS STATEMENT OF INFORMATION TO THE CALIFORNIA SECRETARY OF STATE, THE CORPORATION CERTIFIES THE INFORMATION
    CONTAINED HEREIN, INCLUDING ANY ATTACHMENTS, IS TRUE AND CORRECT.
02/26/2019             TAKEHISA NAITO                                            PRESIDENT
     DATE                TYPE/PRINT NAME OF PERSON COMPLETING FORM                        TITLE                            SIGNATURE
                                                                                                                                PX19 - 147
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                                State of California                                             S
                                    Secretary of State
                              Statement of Information                                                                  GC83845
             (Domestic Stock and Agricultural Cooperative Corporations)
                           FEES (Filing and Disclosure): $25.00.
                        If this is an amendment, see instructions.
                                                                                                                        FILED
      IMPORTANT – READ INSTRUCTIONS BEFORE COMPLETING THIS FORM                                            In the office of the Secretary of State
1. CORPORATE NAME                                                                                                 of the State of California
DAIKOKU MARKETING, INC.

                                                                                                                       FEB-04 2020


2. CALIFORNIA CORPORATE NUMBER
                                               C3560767                                                            This Space for Filing Use Only

No Change Statement (Not applicable if agent address of record is a P.O. Box address. See instructions.)
3.   If there have been any changes to the information contained in the last Statement of Information filed with the California Secretary
     of State, or no statement of information has been previously filed, this form must be completed in its entirety.
      ✔    If there has been no change in any of the information contained in the last Statement of Information filed with the California Secretary
           of State, check the box and proceed to Item 17.

Complete Addresses for the Following (Do not abbreviate the name of the city. Items 4 and 5 cannot be P.O. Boxes.)
4.   STREET ADDRESS OF PRINCIPAL EXECUTIVE OFFICE                                           CITY                           STATE        ZIP CODE


5.   STREET ADDRESS OF PRINCIPAL BUSINESS OFFICE IN CALIFORNIA, IF ANY                      CITY                           STATE        ZIP CODE


6.   MAILING ADDRESS OF CORPORATION, IF DIFFERENT THAN ITEM 4                               CITY                           STATE        ZIP CODE


7.   EMAIL ADDRESS FOR RECEIVING STATUTORY NOTIFICATIONS


Names and Complete Addresses of the Following Officers (The corporation must list these three officers. A comparable title for the specific
officer may be added; however, the preprinted titles on this form must not be altered.)
7.   CHIEF EXECUTIVE OFFICER/                 ADDRESS                                       CITY                           STATE        ZIP CODE


8.   SECRETARY                                ADDRESS                                       CITY                           STATE        ZIP CODE


9.   CHIEF FINANCIAL OFFICER/                 ADDRESS                                       CITY                           STATE        ZIP CODE


Names and Complete Addresses of All Directors, Including Directors Who are Also Officers (The corporation must have at least one
director. Attach additional pages, if necessary.)
10. NAME                                      ADDRESS                                       CITY                           STATE        ZIP CODE


11. NAME                                      ADDRESS                                       CITY                           STATE        ZIP CODE


12. NAME                                      ADDRESS                                       CITY                           STATE        ZIP CODE


13. NUMBER OF VACANCIES ON THE BOARD OF DIRECTORS, IF ANY:
Agent for Service of Process If the agent is an individual, the agent must reside in California and Item 15 must be completed with a California street
address, a P.O. Box address is not acceptable. If the agent is another corporation, the agent must have on file with the California Secretary of State a
certificate pursuant to California Corporations Code section 1505 and Item 15 must be left blank.
14. NAME OF AGENT FOR SERVICE OF PROCESS


15. STREET ADDRESS OF AGENT FOR SERVICE OF PROCESS IN CALIFORNIA, IF AN INDIVIDUAL CITY                                    STATE        ZIP CODE


Type of Business
16. DESCRIBE THE TYPE OF BUSINESS OF THE CORPORATION


17. BY SUBMITTING THIS STATEMENT OF INFORMATION TO THE CALIFORNIA SECRETARY OF STATE, THE CORPORATION CERTIFIES THE INFORMATION
    CONTAINED HEREIN, INCLUDING ANY ATTACHMENTS, IS TRUE AND CORRECT.
02/04/2020             TAKEHISA NAITO                                         PRESIDENT
     DATE                TYPE/PRINT NAME OF PERSON COMPLETING FORM                     TITLE
                                                                                                                                PX19 - 148
                                                                                                                           SIGNATURE
SI-200 (REV 01/2013)                                                                                                APPROVED BY SECRETARY OF STATE
